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                  EXHIBIT F




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2020年12⽉2⽇ 星期三                                                                              欢迎您，15822709714
                                       Case 1:18-cv-11642-VM-VF Document 239-7 Filed 07/19/21 Page 2 of 12    退出 意见建议 返回主站 APP下载 使⽤帮助




                                       亢天辉等⾮非法拘禁⼀一审刑事判决书
         ⽬录                                                                                                           概要




                       ⾮法拘禁 点击了了解更更多                  发布⽇期：2020-12-01               浏览：25次
                                                                                                                      关联

                                             北北京市朝阳区⼈人⺠民法院
                                                刑事判决书
                                                                                       （2019）京0105刑初1095号
                      公诉机关北京市朝阳区⼈民检察院。
                      被告⼈亢天辉，男，1991年3⽉6⽇出⽣于⿊龙江省伊春市，汉族，公民⾝份号码
                 ×××，⾼中⽂化，⽆业，户籍所在地为⿊龙江省伊春市友好区。因涉嫌犯⾮法拘禁罪于
                 2018年8⽉12⽇被刑事拘留，9⽉14⽇被逮捕。现羁押于北京市朝阳区看守所。
                      辩护⼈王猛，天津锦潮律师事务所律师。
                      被告⼈商凤起，男，1994年1⽉21⽇出⽣于内蒙古⾃治区通辽市，蒙古族，公民⾝份号
                 码×××，初中⽂化，⽆业，户籍所在地为内蒙古⾃治区通辽市科尔沁区。因涉嫌犯⾮法拘
                 禁罪于2018年8⽉12⽇被刑事拘留，9⽉14⽇被逮捕。现羁押于北京市朝阳区看守所。
                      辩护⼈周春梅，北京市中淇律师事务所律师。
                      辩护⼈余国飞，北京市中淇律师事务所律师。
                      北京市朝阳区⼈民检察院以京朝检公诉刑诉[2019]1001号起诉书指控被告⼈亢天辉、商
                 凤起犯⾮法拘禁罪，于2019年5⽉13⽇向本院提起公诉。本院依法组成合议庭，公开开庭审
                 理了本案。北京市朝阳区⼈民检察院指派检察员贾晓⽂、周芹出庭⽀持公诉，被害⼈林某
                 1、被告⼈亢天辉及其辩护⼈王猛、被告⼈商凤起及其辩护⼈余国飞波到庭参加了诉讼。现
                 已审理终结。
                      公诉机关指控：2016年11⽉10⽇，被害⼈林某1（男，42岁，北京市⼈）在北京市朝阳
                 区某⼩区被强⾏带⾛。2017年8⽉，被告⼈亢天辉指⽰被告⼈商凤起在京津唐⾼速天津宜兴
                 埠出⼜处，从⼀男⼦⼿中接到被害⼈林某1，并带⾄亢天辉在天津的暂住地，对林某1进⾏看
                 管。同年9⽉，被告⼈亢天辉、商凤起开车将林某1带⾄⿊龙江省伊春市某处住所继续看管。
                 同年11⽉底12⽉初，被告⼈亢天辉、商凤起开车将林某1带⾄福建省厦门市继续看管。2017
                 年12⽉27⽇，被告⼈商凤起带林某1返回北京，并和被告⼈亢天辉⼀起⼊住北京市朝阳区某
                 酒店。次⽇，林某1返回家中。被告⼈亢天辉、商凤起于2018年8⽉12⽇向公安机关主动投
                 案。
                      北京市朝阳区⼈民检察院向本院移送了被害⼈陈述、证⼈证⾔、被告⼈亢天辉和商凤起
                 在公安机关的供述等证据材料，指控被告⼈亢天辉、商凤起的⾏为构成⾮法拘禁罪，提请本
                 院依照《中华⼈民共和国刑法》第⼆百三⼗⼋条第⼀款之规定，予以惩处。
                      被害⼈林某1当庭表⽰⾃⼰在天津、伊春和厦门期间都没有⼈⾝⾃由，虽然有时能出去
                 ⾛⾛，但24⼩时都处在商凤起的看管和监视之下。在这个过程中亢天辉和商凤起没有对我实
                 施殴打和侮辱⾏为。
                      被告⼈亢天辉当庭辩称在天津和伊春⾮法拘禁了林某1，但是在厦门的时候林某1⼈⾝是
                 ⾃由的，没有⾮法拘禁林某1。
                      亢天辉辩护⼈的辩护意见为：亢天辉系初犯，有⾃⾸情节；亢天辉接⼿后对林某1没有
                 体罚、虐待⾏为，对林某1⼈⾝⾃由的限制程度较轻；在伊春的后期以及在厦门期间，不属
                 于⾮法拘禁；亢天辉在哈尔滨购房的钱款⽆法认定是⽤王某1给付的钱款⽀付的；建议法庭
                 对其从轻、减轻处罚。
                      被告⼈商凤起当庭辩称在天津和伊春⾮法拘禁了林某1，但是在厦门的时候林某1⼈⾝是
                 ⾃由的，没有⾮法拘禁林某1。
                      商凤起辩护⼈的辩护意见为：商凤起系初犯，有⾃⾸情节，其在共同犯罪中作⽤相对较
                 轻，处于从犯；商凤起认罪认罚，建议法庭对其适⽤缓刑。
                      经审理查明：2016年11⽉10⽇，被害⼈林某1在北京市朝阳区被⼈强⾏带⾛。2017年8⽉
                 的⼀天，被告⼈亢天辉指⽰被告⼈商凤起在京津唐⾼速天津宜兴埠出⼜处从⼀男⼦⼿中接到
                 林某1，并带⾄亢天辉在天津的暂住地对林某1进⾏看管。同年9⽉，亢天辉、商凤起开车将
                 林某1带⾄⿊龙江省伊春市继续看管。同年11⽉底12⽉初，亢天辉、商凤起开车将林某1带⾄
                 福建省厦门市继续看管。2017年12⽉27⽇，经警⽅电话通知，商凤起带林某1返回北京，并
                 和亢天辉⼀起⼊住酒店。次⽇，林某1返回家中。2018年8⽉12⽇亢天辉、商凤起向公安机关
                 投案。公安机关扣押了亢天辉的苹果牌⼿机2部、商凤起的OPPO牌⼿机1部，现在案。另，
                 公安机关查封了亢天辉的房产⼀处，现移送在案。
                      上述事实，有公诉机关提供的以下证据予以证明:
                      1、被害⼈林某1在2018年8⽉3⽇陈述证明：我是某有限公司董事长，我⾃2016年11⽉开
                 始到2017年12⽉被两伙⼈⾮法拘禁和绑架。第⼀批⼈是从2016年11⽉10⽇晚上到2017年8⽉
                 底，第⼆批⼈是2017年8⽉底到2017年12⽉27⽇。
                      2016年11⽉10⽇晚，我在回家路上被⼤约五六个⼈强⾏戴上头套带上了⼀辆车，我不知
                 道车什么样⼦，开了⼤约⼀个⼩时，我被带到⼀个两居室关起来。屋⼦⾥边有⼀张床，他们
                 将我拷在床上，活动范围只有两⽶，平时他们要求我见他们时候戴眼罩，所以我⾄今不知道
                 他们的样貌，也不知道住宅在什么地⽅。待了两个⽉后他们开车将我带到⼀个四合院，继续
                 将我⽤⼿铐铐住，⼀直到了2017年8⽉底。这些⽇⼦我⼀直吃外卖、⽅便⾯等⾷品，⼏乎24
                 ⼩时带着眼罩和⼿铐，期间他们经常打我，威胁我不要看他们，他们反复问我是不是⽋⼈钱
                 了，说我应该知道⽋谁的钱。
                      2017年8⽉底，这伙⼈开车将我带到天津，把我交到以亢天辉为⾸的5个⼈⼿⾥，这个阶
                 段亢天辉也不要求我带眼罩和⼿铐了，但是全程安排了3个⼈看着我。我在天津⼤概待了三
                 个星期，期间亢天辉和我聊得⽐较多，他说：“你是不是⽋⼈家钱？现在外边有⼈找你还
                 钱，雇佣⽅以前是跟你⼀起合作的，2014年前后你配合调查的时候离开公司了，之后你又想
                 回公司参与项⽬，在你失踪期间你的家⼈找过雇佣⽅，雇佣⽅就和你的家⼈说你要去外边参
                 与⼀个⼤项⽬，可能要很长时间回来，让你的家⼈放⼼。”亢天辉还问我是不是认识⼀个叫
                 王某1的⼈，说我应该知道雇佣⽅是谁。在天津待了⼤概三个星期后，亢天辉和他⼿下⼀个
                 叫亮⼦的⼈开车把我送到⿊龙江伊春市，这个亮⼦好像姓商。在伊春待了将近3个⽉，这期
                 间亢天辉觉得我也不是坏⼈，对我说雇佣他的⼈给了他600万让他把我带到北朝鲜，永远不
                 让我回国。事实上亢天辉没有这么做，只是把⼀部⼿机放到了丹东定了⼀个位置，给他的雇
                 主发了过去，谎称已经把我送到了北朝鲜。这期间亢天辉表⾯上说我想去哪⾥都可以，但是
                 必须要亮⼦跟着我，期间我们也有交流，他和我说不把我送出国了，但是我必须在伊春市待
                 上⼀年半载，等他的雇主不追究他了，就让我回北京或者去南⽅发展，我在被迫的情况下同
                 意了。亮⼦24⼩时看着我，我没有任何⼈⾝⾃由，他们还说跟当地警⽅很熟，所以我不能也
                 不敢报警。在这期间亢天辉曾问我能不能找熟⼈要点钱解决以后的⽣活和发展问题，我说可
                 以找我太太给我钱，他就让我给我太太打电话要钱，把存钱的银⾏卡寄给他⼀个叫李某1的
                 朋友⼿中。后来我知道我妻⼦报警了，朝阳刑侦⽀队的⾼警官后来也联系了李某1的领导，
                 李某1和亢天辉联系后，亢天辉就把我带回北京让我回家了。之后亢天辉打电话找我，在电
                 话⾥他提到了史某，说他躲⼀段时间，担⼼史某找他，这个我现在有录⾳，我觉得史某就是
                 他的雇主。
                      亢天辉曾问我认识不认识王某1，我开始不知道是什么意思，后来亢天辉跟我说绑架我
                 的第⼀波⼈中有个叫王某1的，他还说找王某1的⼈是跟雇主⾮常接近的⼈，应该是雇主的表
                 弟什么的，⽽且他见过这个⼈，通过亢天辉的形容这个⼈和连某的体型很像。
                      在伊春的时候亢天辉曾经带我去过当地的派出所周边，还见了⼀个民警，意思就是他在
                 伊春跟当地警⽅很熟。还有就是我没有钱，也没有电话，亮⼦也24相⼩时跟着我，所以我没
                 有报警。
                      被害⼈林某12018年8⽉7⽇陈述证明：2017年11⽉底，亢天辉让我打电话联系我太太郭某
                 给我寄⼀张银⾏卡，寄给某分局民警李某1，地址是某分局。12⽉中旬，亢天辉给亮⼦打电
                 话，让亮⼦问我密码，我不知道密码所以没有告诉对⽅。2018年1⽉中旬，李某1将银⾏卡寄
                 给了我姐姐林某2，因为没有密码所以卡内的资⾦没有动。亢天辉让我家⼈邮寄银⾏卡是以
                 我创业资⾦和⽣活费的名义。
                      2017年12⽉5⽇左右⼀天上午9时许，亢天辉和亮⼦开着⼀辆⽩⾊的奥迪车将我从伊春带
                 到了天津，晚上9时许住到了⼀家普通酒店，以亮⼦的名字开了⼀间标间，我和亮⼦住⼀
                 起，亢天辉去哪⾥了不清楚。第⼆天晚上8时许，亢天辉、亮⼦开着⽩⾊奥迪车带着我出
                 发，第⼆天晚上8时许到了厦门⼤学靠海边的⼀个⼩区，我印象中是7号楼⼀层的两室⼀厅，
                 是亢天辉让其⼥友租的房，我和亮⼦在这⾥住了三星期。
                      回北京是亢天辉让亮⼦订的机票，2017年12⽉27⽇晚上10点15分乘飞机从厦门回北京，
                 12⽉28⽇到北京后亢天辉和⼥友开着⽩⾊的奥迪车在机场接的我和亮⼦，我们四⼈⼊住亚运
                 村某酒店。
                      被害⼈林某12018年4⽉8⽇陈述证明：2018年3⽉中旬，亢天辉通过其太太联系我的爱
                 ⼈，说要打电话联系我。后来亢天辉给我打了三次电话，告诉我说雇佣⽅通过第⼀次绑架我
                 的⼈联系到了他，了解我当时的情况，亢天辉告诉雇佣⽅在2018年12⽉28⽇我被放回来了，
                 提⽰我注意安全。并且亢天辉告诉我说李某1是他⾮常要好的朋友，可以通过李某1联系到
                 他，当时我告诉亢天辉尽快来北京配合警⽅调查，他说处理完家⾥的事⼉就到北京配合调
                 查。
                      被害⼈林某12019年3⽉13⽇陈述证明：我⼀直没有⼿机和sim卡，每次都是亢天辉或商
                 凤起把171的⼿机SIM卡装好，告知我谈话内容再让我打电话。最早⼀次是2017年11⽉左右，
                 在伊春友好区加⼯⼚9号楼的⼆层，当时亢天辉和商凤起都在场，让我给我妻⼦打电话说我
                 要做新项⽬，前期需要200万启动资⾦，让我妻⼦将钱打到⼀张卡中。我妻⼦让我尽快回北
                 京，说⼥⼉上⼩学需要⽗母的⾝份证，还要⼀起去办⼿续。中间我妻⼦不同意给钱，亢天辉
                 将电话接过去，说他从上⼀拨⼈⼿中接我过来时就是捡了⼀条命，让我妻⼦尽快给我寄钱。
                 内容就是这些，亢天辉当时限制了我说话，让我只能说要钱的事⼉，其他的不能说。
                      第⼆次是2017年11⽉份，上次的两三天之后，他们让我给我妻⼦打电话，还是上次同⼀
                 地点，亢天辉和商凤起都在场，以同样的事由让我妻⼦尽快打钱。这次和上次⼀样，⾏动上
                 和说话内容上限制我，只能在那个地⽅，说话只能说他们让我说的。
                      第三次也是在这个地⽅，亢天辉和商凤起都在，同样限制我的⾏动和说话。第四次依然
                 是在这个地⽅，我和妻⼦是⼀样的谈话内容，但因当时亢天辉同意把我转移⾄厦门，让我妻
                 ⼦把我的护照和港澳通⾏证⼀起寄过来，我妻⼦后来也没有寄。亢天辉让我妻⼦把银⾏卡寄
                 到哈尔滨道外分局李某1那⾥，并留了李某1的电话和邮寄地址，当时亢天辉和商凤起都在，
                 同样限制我的⾏动和说话。
                      后来在厦门，2017年12⽉份在某花园⼀个⼀层的两居室，我每次打电话都是亢天辉和商
                 凤起让我打的，当时亢天辉和商凤起说卡收到了，让我向我妻⼦要密码取钱，但我妻⼦始终
                 没有告诉我密码。又隔了两三天，让我给我妻⼦打电话要密码，我妻⼦还是找各种理由始终
                 没有告知我密码。这次商凤起在场，还是限制我的⾏动和说话内容。这⼏次打电话都是亢天
                 辉和商凤起让我打的，每次打电话前商凤起都要请⽰亢天辉同意，打完电话商凤起都要通过
                 电话或者微信向亢天辉汇报⼀下。亢天辉通常会通过电话或者微信远程听我说什么。
                      因为我妻⼦⼀直没有说银⾏卡密码，2017年12⽉份，亢天辉就让我向我的家⼈要⼀些
                 钱，他们让我联系我姐姐。在某花园我给我姐姐打电话，我姐当时说困难，我让我姐姐联系
                 ⼀下我的⼀个朋友，因为在打电话之前亢天辉说我姐姐没有钱，能不能找我的朋友要⼀下，
                 但是亢天辉担⼼我给我朋友打电话我的消息会扩散出去，所以让我姐姐先联系那个朋友，当
                 时商凤起在场，限制了我的⾏动和说话。又隔了⼀两天，在某花园我给我姐姐打电话，我姐
                 姐说给那个朋友打电话了，说感觉那个朋友还⽐较友好，能够帮助我。这次商凤起同样在
                 场，限制我的⾏动和说话。
                      每次打电话之前他们要求我只能说什么内容，我打电话的时候就坐在我边上听着，基本
                 就是挨着我坐，听我说什么，我要是说了什么不是他们让我说的，他们就会把电话拿过去他
                 们来说或者让我停告诉我说的不对，还有就是在⼿机上写⼀段⽂字，让我照着说，我说的不
                 对就让我挂电话或者他们把⼿机拿⾛挂断电话。他们就是⼀直给我⼼理压⼒，⼀直反复说雇
                 佣⽅要把我送到北朝鲜，反复强调让我知道亢天辉他们和伊春的警⽅很熟悉，雇佣⽅和警⽅
                 特别是北京警⽅很熟悉，让我完全听从他们的指令，期间亢天辉说过⼏次他的那名搭档，提
                 出要跟我视频通话，说雇佣⽅要知道我的状态，亢天辉、商凤起和他的搭档通过各种⽅式给
                 我各种⼼理压⼒，让我必须听他们的，如果我不听话就还要回到原来那种拘禁状态，未来⼋
                 年⼗年都是那种状态。每次亢天辉和商凤起让我打电话要钱，都会要求我对家⼈说他们绝对
                 不能报警，并且对我联系他们的信息要严格保密，否则信息⼀旦泄露，我就可能回到原来被
                 拘禁的状态。还有就是他们在电话中也直接对我家⼈说不能报警，还说我联系家⼈的事情要
                 严格保密，否则我就有危险，从⽽达到给我⼼理施压的⽬的。他们还威胁我说如果我的信息
                 ⼀旦泄密，我的家⼈也会有威胁。亢天辉和商凤起还通过限制我的饮⾷量来限制我，给我施
                 压。他们在伊春拘禁期间还在房间内安装摄像头，商凤起24⼩时监视我。我没有⾝份证、没
                 有现⾦、没有通讯⼯具，甚⾄都没有体⼒，在上述所有的综合限制和威胁下，我只能完全听
                 从他们的指令，包括我偶尔出门他们也不允许随意和外⼈说话，我⼏乎不能和外⼈说话，只
                 是通过点头和外⼈沟通。
                      林某1向公安机关提供的案情补充说明材料，其中包括：（1）在厦门机场办⾝份证时为
                 何不报警？厦门机场办⾝份证的地⽅不是警察在办理，估计是委托的第三⽅代办机构，是⼀
                 个⼩⼥孩在机场⼤厅办理，没有办法报警。⽽且朝阳分局⾼警官在2017年12⽉27⽇也就是从
                 厦门飞回北京的当天下午4：30左右联系的李某1的领导，李某1联系了亢天辉，亢天辉又联
                 系了商凤起，之后⾼警官和商凤起多次通话，亢天辉才安排商凤起当晚送我从厦门回北京。
                 既然亢天辉已经同意送我回北京，我当时感觉可能先到北京更安全，⽽且也没有遇到警察可
                 报警。（2）2017年12⽉28⽇在北京某酒店去派出所登记住店时为何不报警？当时是12⽉28⽇
                 凌晨四五点钟，派出所除了服务窗⼜⾥⼀个值班的⼈，没有其他⼈，⼤厅及周围都是⿊的。
                 亢天辉、商凤起还有亢天辉的⼥友都⼀直跟着我，我也不知道周围是否还埋伏了其他⼈。因
                 为2016年11⽉10⽇我被绑时，五六个⼈从我⾝后把我的头⼀蒙，⼏秒钟就抬上了车。我担⼼
                 那种情况再⼀次发⽣。亢天辉说过雇佣⽅会监控我的出⾏记录，我和商凤起从厦门坐飞机回
                 北京，雇佣⽅可能会发现，会继续绑架我。我被拘禁了13个多⽉，吃尽了苦头，已经被第⼀
                 拨⼈和亢天辉灌输了“绝对不要出逃，否则会被抓回来再像之前9个⽉那样危险”和“即使回北
                 京也随时有危险可能再次被绑架”的意识，当时亢天辉已经答应我过⼏个⼩时就送我去奥运
                 村派出所，我没有必要冒那个险。事实也是如此，史某在得知我回来后，继续骚扰威胁我和
                 家⼈。
                      辨认笔录，林某1经辨认指认亢天辉就是对其实施绑架的犯罪嫌疑⼈之⼀，商凤起就是
                 从2017年8⽉底到2017年12⽉28⽇⼀天24⼩时负责看管其的犯罪嫌疑⼈之⼀。
                      2、证⼈郭某2017年12⽉27⽇证⾔证明：我怀疑我丈夫林某1被绑架了。我最后⼀次见林
                 某1是2016年11⽉10⽇19时许在东城区歌华⼤厦附近，当时他去找他姐姐谈事，从那之后我
                 们就再也联系不上他了。直到2017年12⽉初，我接到⼀个陌⽣电话，对⽅表⽰是林某1，⼀
                 些情况不⽅便跟我说，但是需要⽤钱，让我存100万⼈民币到银⾏卡，然后邮寄到他指定地
                 址，会有⼈转寄给他。我办了张卡，存了2万元⼈民币，12⽉21⽇我邮寄到了指定地点，收
                 件⽅是李某1，地址是哈尔滨市某地。过了⼏天他又打电话找我要密码，我以各种理由没告
                 诉他，他就经常打电话过来，⽽且只说要密码的事，问别的他什么都不说，只说为了保证我
                 们母⼥的安全所以不让我问。我听他的声⾳就是林某1，⽽且他还在电话⾥询问了⼀下他与
                 他姐姐⼀起开办的公司的情况。我问他什么都不说，不让我们问了，感觉他⾝边应该是有别
                 ⼈，并且他打电话应该是开着免提说的。我⽆法主动联系上我丈夫，给他打电话就显⽰关
                 机，只有他想联系我们时候才开机，有⼀次我们刚挂完电话，过了不到10分钟我再拨回去就
                 显⽰关机了。
                      证⼈郭某2018年9⽉27⽇证⾔证明：2014年8⽉，芮某的案⼦涉及到某公司，因为林某1是
                 某公司的法⼈和CEO，所以林某1到专案组配合调查约5个⽉时间，期间公司的董事长和CEO
                 变成了史某。在林某1回来后，他在公司没有任何职务，怕后期有别的事情，林某1将他的所
                 有股权转给了我。在失踪前林某1正在和史某交涉某公司的相关事务，林某1想要查公司的
                 账，要确权。当时林某1使⽤的⼿机号是139开头的，他失踪后这个号码就联系不上了。林某
                 1失踪后，当时我在外地，是林某1的姐姐林某2报的警，我从外地回来后到了派出所，派出
                 所让我们回去等消息。
                      林某1失踪后在2017年11⽉初给我打过⼏次电话，是⼀个17开头的号码，不显⽰号码归
                 属地。林某1开始怎么说记不清了，他说⾃⼰被绑架了，现在已经没事了，只是说让我不⽤
                 担⼼，现在有两个⼩兄弟照顾他，还要创业，需要⼏⼗万元。我感觉每次通话他都开的免
                 提，我就故意和他吵架，说要和他见⾯，问他为什么不回来，是不是有了别的⼥⼈，后来陪
                 着林某1的男⼦接过电话，对⽅⾃称叫亢天辉，亢天辉说：“林某1被绑架了，我们接⼿的时
                 候林某1已经不像样⼦了，像养狗⼀样养着，对⽅让我们将林某1送到朝鲜，我们认为没有必
                 要，但是我们也不能放林某1回去，林某1也不敢回去。”后来林某1说想去厦门待⼀段时间，
                 继续创业，需要⽤钱，让我把钱存到⼀张卡⾥，然后把卡寄给他，还让我找他的护照等。后
                 来我让林某2办了⼀张银⾏卡，存了5万元，按林某1的要求让不认识的⼈将卡寄到指定地
                 址，我记得是哈尔滨道外分局的⼀个警察，收件⼈叫李某1，有收件⼈的⼿机号。在给林某1
                 ⼏万钱后的两三天我就报警了，在奥运村派出所报林某1被绑架，后来刑警来了，了解了相
                 关情况，和哈尔滨公安局联系问有没有叫李某1的警察，后来怎么联系的我不清楚，后来我
                 只是听了⼀句“把⼈送回来”。后来我就在派出所等着，等到了中午我胃疼，警察让我回家等
                 着。
                      3、证⼈林某2证⾔证明：2016年11⽉10⽇晚上，我给我弟弟林某1打电话，电话通了但
                 是⼀直没⼈接，第⼆天我又给他打电话，他的⼿机就关机了，今天我⼀直联系不上他，我就
                 来报警了，我最后⼀次见他是2016年11⽉10⽇18时许，是在北京天⼼⽆限科技有限公司，我
                 感觉他情绪低落，具体原因不清楚。
                      4、被告⼈李某22018年11⽉20⽇证⾔证明：2017年夏天，我朋友曲某给我打电话说有东
                 西要运出境，他们可以出钱，问我有没有这⽅⾯的渠道，我说帮着联系⼀下看看。我找了我
                 发⼩亢天辉，亢天辉说可以办，但是不太好办。我给去曲某打电话说这件事可以办但是有点
                 困难，曲某说可以加钱，需要⾯谈，我们约第⼆天在辽宁省丹东见⾯，后我们在龙哥家见
                 ⾯，当时有我、亢天辉、张某、龙哥，对⽅有曲某、王某1，我们⼀起谈这件事。曲某和南
                 哥说不是往外运货，⽽是将⼀个⼈带出境，对⽅说办成这件事⼉后给我们两百万，当时我们
                 就说不好办，后曲某就出去到车上拿来了10万元，王某1说这是给我们的过节费，这钱和办
                 事⼉没有关系，后来他们就离开了。我们⼏个商议不能动这个钱，回头再还给他们。后来我
                 们三个开车回家，我回了北京，张某和亢天辉回了天津。过了⼏天我打电话约了亢天辉和张
                 某来北京商谈，要把这10万元的事⼉整明⽩，后来亢天辉和张某到北京找我，我们在⼀个饭
                 店见⾯，曲某也来了。我们⼀起说钱的事⼉，曲某说这个钱就不要了，把租车去丹东的钱给
                 他就可以，后来曲某拿⾛了4万元，因为车是他租的，我和亢天辉、张某每⼈2万元，后来就
                 各⾃离开了，后⾯的事⼉我就不知道了。
                   当时曲某让我找这⽅⾯的渠道，要运东西出境，我问东西多不多，曲某说不多，就⼀个
                 东西，还说他⼤哥要出⼤钱来办这件事⼉，因为我的发⼩亢天辉在天津做物流，所有我就找
                 了亢天辉，因为张某天天和亢天辉在⼀起，我想对⽅既然要花⼤价钱往境外运东西，肯定很
                 重要，所以也把张某拉上了。曲某的⼤哥叫王某1，我们叫他王某1。我们在丹东商议时，没
                 有说运什么⼈，就说运⼈偷渡过江到朝鲜境内，只要不在中国就可以，王某1等过了这⼀段
                 关键时间再说，我感觉这是⼀个很特别的⼈，对⽅让这个⼈消失⼀段时间，这个⼈肯定有重
                 要的事情现在不能出现，不然对⽅不会花⼤价钱将这个⼈送出境，龙哥说只要把⼈送到朝
                 鲜，肯定会⽤铁链穿锁⾻，关在⼀起⼲活，肯定就回不了国了。龙哥说趁天⿊⽤⼩船把⼈运
                 过去，他在朝鲜边境有熟⼈，那边有⼈接应，后来龙哥还开船带我们⼏个在鸭绿江边上转了
                 转，看了看地形。
                   证⼈李某22018年11⽉21⽇证⾔证明：在去丹东之前或者之后，亢天辉和曲某、王某1在
                 北京海德酒店见过⾯，我也去了，但是没有进房间，他们怎么谈的我不知道。后来我们知道
                 是运⼈后，我和亢天辉、张某寻思这如果运到朝鲜，⼈就好不了了，⽽且龙哥也说做不来这
                 事⼉，龙哥没有给开这个⼜，我和亢天辉、张某上商量着肯定办不了这个事⼉。这个时候曲
                 某拿来10万元，也是王某1的意思，钱给我们了。曲某和王某1的意思就是钱跟运⼈这个事⼉
                 没有关系，就是来了⼀趟丹东，这个是⾟苦钱和过节的钱。再后来分那个10万块钱的时候，
                 当时曲某当着我们的⾯给王某1打的电话，说我们不要这个钱，王某1说这个钱就是给我们
                 了，当时亢天辉也直接问了王某1，王某1就说这个钱给我们了，当时我们想曲某花了租车的
                 钱和乱七⼋糟的钱，这样我和亢天辉、张某还有曲某就把这10万元分了，给了曲某4万，剩
                 下的钱我们每⼈2万元。当时曲某说这个事⼉办不了了，到此结束，后⾯的事⼉我真的不知
                 道了。
                   5、证⼈张某证⾔证明：2017年五六⽉份，亢天辉说李某2有个朋友要发货到丹东，过两
                 天到丹东去找龙哥说这个事⼉，说如果我没事⼉就和他们⼀起去溜达⼀圈。在丹东有我们
                 仨、龙哥、宝坤和另外⼀个男⼦，那个男⼦跟龙哥说有个⼈想运到朝鲜，给他找个地⽅，让
                 他呆着，⼤概多少钱。龙哥没有应声。对⽅⾛之后在楼下给了10万元，我们仨商量这事⼉不
                 能办，也不要钱，但是在两三天之后亢天辉说对⽅⾮让拿着，给了我2万元现⾦，给了李某
                 22万元现⾦。
                   ⼤概过了⼀两个⽉，有⼀天亢天辉回天津了，我感觉他花钱特别⼤⼿⼤脚，天天上饭
                 店，买东西很奢侈，还给⼀个叫李某3的朋友买了最新的⼿机，我就很奇怪，问他是不是和
                 龙哥把这件事⼉办了，帮⼈把⼈送出境了，他当时否认了。但是当天半夜12点左右，他发微
                 信让我去友好区的⼀个宾馆找他，他在宾馆说：“⼈接过来了，对⽅给我钱了，明后天咱俩
                 回天津吧。”在路上开车时，他说这事⼉和龙哥没有关系，龙哥也没有能⼒把⼈送出去，⼈
                 他和亮⼦看着呢，那个⼈饿得全剩⾻头了，当时接完⼈他拿了钱就回东北了。到天津之后亢
                 天辉说给亮⼦送5000元钱，我带着我去了⼀个⼆层楼，但是具体在哪⾥我没记住。我们进屋
                 之后看到了那个⼈，亢天辉问那个⼈是怎么回事⼉吗，那个⼈说话了但是感觉有点意识不清
                 醒。神志不清，说话不流利，说⼀句话要想很长时间，所以当时交流不太顺畅，那个⼈说他
                 叫林某1，是因为公司的事情。亢天辉没有再说什么，当时亮⼦也在旁边。
                   6、证⼈李某1证⾔证明：我是某分局民警。亢天辉和我是⼩学同学，⼩学时偶尔⼀起玩
                 ⼉，到了初中就没有在⼀起上学，也没怎么联系。后来我听说亢天辉去了天津发展，做物流
                 ⾏业，后来我们就是过年的时候见过⾯，没有过多的联系。在2017年年底的⼀天，我在单位
                 上班收到了⼀个圆通快递，有寄件⼈和地址，但是我现在记不住了，我就把快递打开了，发
                 现⾥⾯是⼀张农⾏卡，我问了我的家⼈、朋友和同事，均没有⼈向我寄送银⾏卡，我当时就
                 觉得莫名其妙，就没当回事⼉，银⾏卡就随⼿放在我家⾥了。后来过了⼀星期左右，北京朝
                 阳⼀位⾼警官给我打电话，问我是否收到⼀张农⾏卡，我就把收到卡的情况对⾼警官说了，
                 并回家找到银⾏卡和⾼警官核对了卡号和信息，后来过了⼏天我觉得这张银⾏卡不能放在我
                 这⾥，我就按照银⾏卡邮寄过来的地址原封不动给寄了回去，但是地址和收件⼈的情况我都
                 记不起来了。当时⾼警官除了核对银⾏卡信息还问我是不是认识亢天辉，我就如实回答了，
                 ⾼警官问我能不能找到亢天辉以及亢天辉的联系⽅式，我也联系不上亢天辉，我当时有亢天
                 辉媳妇⾟某的微信，我向⾟某打听了⼀下亢天辉最近的情况，⾟某说她也联系不上。我没有
                 告诉过亢天辉说我是警察，我们共同的朋友有没有告诉亢天辉我就不知道了，我也没有告诉
                 过亢天辉我的⼯作单位和地址，他从来没有主动联系我让我帮其接收包裹。收到的那张银⾏
                 卡我没有使⽤过。
                   7、证⼈⾟某证⾔证明：我和亢天辉2012年前后在天津东丽区做物流，开始的时候纯利
                 润⼤概⼗⼏万，2016年物流业不景⽓，在2017年前后就不做了。我公公亢某早年开货车，⽉
                 收⼊四五千元，婆婆姜某之前在鞋⼚打⼯，⽉收⼊两千多，我母亲王某2没有收⼊，我⽗亲
                 在我⼋岁的时候就去世了。现在我家⾥⾯靠之前做物流攒下的钱⽣活。我名下有两个银⾏账
                 号，⼀个农业银⾏，⼀个平安银⾏，都是在天津开的户。这两张银⾏卡⼀直是我在使⽤，有
                 时候取钱会是我公公、婆婆去。2018年8⽉12⽇，亢天辉因为涉嫌⾮法拘禁被北京朝阳分局
                 拘留，同案⼈叫商凤起，被拘禁⼈叫林某1。
                   2018年8初，⼀个⾃称叫林某1的⼈给我打电话，问我是不是亢天辉爱⼈，我说是，他说
                 他已经在北京报警了，警⽅⽴案了，让我联系亢天辉尽快投案⾃⾸，我答应他了，后就挂断
                 了电话。我没有见过林某1。商凤起之前在我们天津的物流公司做司机。我公公亢某名下有
                 ⼀辆⽩⾊⽐亚迪汽车，2015年购⼊，车牌号×××，现在在伊春家中。2015年刚购⼊时亢天
                 辉使⽤过⼀段时间，2016年年底后⼤部分时间是我公公在使⽤，亢天辉也会偶尔使⽤。2017
                 年亢天辉⼀直在天津，⼋九⽉份回到伊春家中，他说住亲戚家，11⽉份他回到了天津。
                   8、证⼈史某证⾔证明：我和林某1原来是⾼中同学，后来⼤学毕业后⼀起创业，2005年
                 博⼠毕业后⼀起成⽴了某公司，2011年5⽉份在美国上市，公司⼀直由林某1负责。2014年8
                 ⽉底，林某1被公安机关带⾛协助调查，他被带⾛后公司由我来管理，2015年1⽉林某1回来
                 后其因为家庭原因，林某1将⾃⼰所有的公司股份、权益都转给了妻⼦郭某，林某1退出某公
                 司，后由我全权负责某公司的运营，郭某出任公司的董事和⾼管，但郭某很少管事⼉，林某
                 1全部退出某公司。2018年春节后，林某1在⽹上多次攻击我和某，造谣诽谤我，发布虚假的
                 上市公司董事会决议、公告，还带着⼏⼗⼈到某公司想要强⾏接管公司，指⽰他的保安到我
                 的另外⼀个公司北京某有限公司盗取公章，并⽤盗取的公章伪造⽂书。我认为我和林某1没
                 有任何纠纷，我很难理解林某1为什么不停折腾我和公司。他的恶意指责和所说的⼀切，我
                 认为都不对，相关问题都有官⽅的公告和声明。
                   9、公安机关出具的⼯作记录、扣押决定书、扣押清单，证明将亢天辉、商凤起带⾄北
                 京后，为查清案件事实、查找其他嫌疑⼈，公安机关前往⿊龙江省伊春市查找⼆被告⼈的⼿
                 机，经联系亢天辉的妻⼦说明情况，亢天辉之妻将亢天辉的两部苹果牌⼿机、商凤起的1部
                 OPPO牌⼿机交给了民警，民警对⼿机进⾏了扣押，后由亢天辉、商凤起签字确认。
                   10、亢天辉农业银⾏账户6228********交易明细、⾟某农业银⾏账户6228********交易明
                 细，证明了⼆⼈银⾏账户的交易情况。
                   11、购房合同及刷卡⽀付单据，证明亢天辉于2017年10⽉25⽇签订合同，以⼈民币
                 880058元购买位于哈尔滨的房产⼀处，使⽤农业银⾏卡6228****8778⽀付20万元、180058元，
                 使⽤农业银⾏卡6228****3078⽀付50万元。
                   12、查封决定书、查封清单，证明哈尔滨某房产被查封。
                   13、北京通达⾸诚司法鉴定所司法鉴定意见书，证明了对李某2的⼿机进⾏鉴定的情
                 况。
                   14、到案经过，证明2018年8⽉12⽇亢天辉、商凤起向⿊龙江省伊春市公安局友好分局
                 投案。
                   15、被告⼈亢天辉2018年9⽉27⽇供述证明：我通过朋友跟曲某认识有⼀段时间了，对
                 他的了解就是知道他给⽼板开车。曲某对我说他⽼板的⼀个朋友的公司倒闭了，追账的⼈特
                 别多，想出去躲躲，也是考察⼀下别的项⽬，曲某问我能不能由我陪着招待⼀下，招待费⽤
                 都是由他⽼板来出，我就答应了。这样曲某把我的电话给了王某1，王某1给我打了电话，问
                 我曲某在电话⾥是否把事情交代清楚了，问我有没有时间，我说有时间，也能陪着去，王某
                 1就说让我等他电话。差不多过了⼀个⽉左右，王某1又给我打电话说他这个朋友想出国旅
                 游，问我能不能陪着去，我说可以，王某1说出国的费⽤不⽤我担⼼，让我继续等电话。又
                 过了⼏天，王某1就带着林某1到天津找的我，当时是2017年9⽉份左右，我们在京津唐⾼速
                 宜兴埠路⼜见的⾯，当时是下午五六点钟，见⾯时有林某1、王某1、我还有商凤起，商凤起
                 没有下车。王某1向我介绍林某1说是宇哥，向林某1介绍我叫⼩辉，王某1对林某1说有什么
                 需求就向我提，考察完了早点回来，当时在宜兴埠路⼜我们分开了。我问林某1去不去宾
                 馆，他说没有⾝份证，问他为什么没有⾝份证，他就说了⼀句“⼀⾔难尽”。我们带着林某1
                 去了我在天津东丽区⼤必庄镇我租的⼀套两居室。我问林某1没有⾝份证怎么出国，林某1说
                 不想出国，我说王某1他们会给我钱让我陪着他出国，林某1说想想，想好了会告诉我。
                   王某1⼀共给了我265万，分两次给的，第⼀次也就是见⾯当天，王某1给了我30万，之
                 后我了我235万，都是现⾦，说实话我也没有怎么数。我拿回来后，在我、我爸、我妈银⾏
                 卡⾥都存了钱，但是他们都不知道。我记得有农业银⾏的，也有⼯商银⾏的，我记不住我爸
                 妈的是哪个银⾏的，我的是农⾏的。
                   后来林某1问我⽼家是哪⾥的，我们聊得不错，我告诉他我⽼家是⿊龙江伊春的，给他
                 看了我的⾝份证，就是表明我没有任何恶意。林某1就说去伊春，我和他在天津待了也就是
                 ⼗天⼋天的，之后我们拉着林某1去了伊春，林某1说不住宾馆，要住我家，因为我⽗母、媳
                 妇和孩⼦都在家，我们就在我⼀个姨家住下了。住了⼀两个⽉左右，林某1说要去厦门，他
                 让我在厦门⼤学附近租⼀处海景房，我委托⼀个⼥性朋友通过中介租了⼀套海景房。我带着
                 林某1在2017年11⽉份去的厦门，准备去厦门的时候林某1说把他送到厦门后就不需要我和商
                 凤起了，林某1让我给他留点钱，意思就是⾟苦我们⼀趟把他送到厦门我们就可以⾛了。在
                 伊春期间，林某1每天都能跟他爱⼈郭某及姐姐林某2通电话。林某1⽤的是17号段的卡，不
                 是实名登记的，是林某1让我给他买的这种卡，买了有四五张。林某1对她们说有两个朋友陪
                 着他在伊春，让她们放⼼。林某1说要去厦门，郭某说不让林某1回家，林某1对郭某说到厦
                 门后就没⼈陪着他了，让郭某给他打点⽣活费，郭某要地址，那个时候我们还没有在厦门租
                 到房⼦，我们去厦门必经哈尔滨，我想起⼀个叫李某1的同学在哈尔滨公安局上班，我就向
                 李某1要了地址发给了郭某。李某1也问我寄什么，我说就是⼀个快递，过两天我去他那⾥
                 取。这样我们从伊春出发路过哈尔滨，但是林某1没让停车，我们就路过哈尔滨直接⾛了。
                 那个卡没有寄到哈尔滨，因为快递给耽误了。
                   从伊春到厦门我们中途在天津住了⼀天⼀宿，商凤起带着林某1住的宾馆，我没有和他
                 们住⼀起。其实我⼀直没有跟林某1他们住⼀起，是商凤起和林某1住⼀起。在天津的时候林
                 某1跟郭某通了电话，他们在电话⾥吵架了，我劝林某1不要去厦门了，林某1给郭某打了电
                 话，郭某的问林某1回家之后还⾛不⾛，如果还⾛就不要回家了。我知道林某1在外⾯有个⼩
                 三，还给林某1⽣了个孩⼦，郭某认为林某1去厦门就是去找这个⼩三了，这都是林某1对我
                 说的，也是郭某对我说的。这样我们在天津待了⼀天就去厦门了，路上也是边⾛边停，林某
                 1这个⼈喜欢这样，看哪⾥好就停下。
                   在厦门林某1说不⽤我了，我就先⾛了。因为林某1和商凤起在⼀起待的时间长了，⾝边
                 没有⼈他不习惯了，所以林某1就要商凤起陪着他再待⼀段时间。后来北京警⽅的⾼警官联
                 系我问我能不能联系上林某1，我就把林某1的电话告诉了⾼警官，当晚商凤起就陪着林某1
                 坐飞机回到了北京。因为⾼警官让我也到北京，所以林某1他们到北京的当天我也从天津到
                 了北京，是我在机场接的林某1和商凤起。我们三个⼀起吃的饭，然后在亚运村派出所附近
                 的⼀个宾馆住下的，这次我们⼀起住的。第⼆天我和林某1、林某1的姐姐林某2在五洲酒店
                 那⾥吃的午饭，饭后我就去了亚运村派出所，林某1说去郭某再去派出所。我等了⼀下午林
                 某1没有露⾯，⾼警官跟林某1核实完情况后让我⾛的。
                   我还想说说林某1和商凤起在⼀起的时候，他们出门都是打车，没有做过饭，都是去饭
                 店吃，包括逛街和买⾐服都是商凤起陪着去的，因为东北天⽓⽐较冷嘛。还有就是的⼀个朋
                 友和我还有林某1、商凤起在伊春友好区⼀起洗过澡，我的这个朋友叫李某3，是某派出所的
                 民警。另外，在伊春的时候曲某给我打电话问林某1出国没有，我说林某1没有⾝份证他不愿
                 意出国，曲某就说没有出国的话费⽤⽤不了那么多，让我退给他，2017年12⽉我在北京的时
                 候就退给了曲某现⾦110万。
                   林某1回到北京后跟我联系了，让我把郭某寄到李某1那⾥的农业银⾏卡寄回去，我和李
                 某1联系，接电话的是他妈，李某1应该是出公差了，之后那张卡就寄给了林某1，林某1说收
                 到了。除了这个之外，林某1还总是打电话问我过得怎么样，都是朋友间的问候，让我以后
                 有事⼉可以找他，再有就是让我出⾯去公安局帮他把这个事实叙述⼀下。我就接到了史警官
                 的电话，说我的⾏为涉嫌违法犯罪让我去公安局投案，我就把这个事⼉跟林某1说了，林某1
                 安排我去友好分局投案，给了我⼀个电话，说是局长的电话，我跟局长通了电话，局长安排
                 刑警队给我做了笔录。
                   被告⼈亢天辉2017年9⽉29⽇供述证明：我本来不知道王某1的名字，是林某1对我说我
                 认识的那个王某1叫王某1。林某1回到北京之后，曲某给我打电话，意思是林某1⼏个⽉就回
                 家了，给我的钱肯定⽤不了那么多，让我退钱，我也同意了。这样曲某给我发了⼀个北京的
                 地址，我⽤⼿机导航到了那⾥，到了之后没有见到曲某，后来就有⼈联系我，我和那个⼈见
                 了⾯，那个⼈说是替曲某来拿钱的，我给曲某打电话确认了⼀下没有问题，这样我就给了那
                 个⼈100万现⾦。曲某说让我退钱也是王某1的意思，钱退了之后曲某就把我拉⿊了，我们再
                 也没有联系过。隔离⼀段时间，王某1又给我打了⼀个电话，问我和林某1在⼀起的⼀些细
                 节，还问林某1为什么报案了，问我跟朝阳分局警官都说了什么，我就实话实说告诉了王某
                 1。王某1还问我去派出所了没有，我说去过了，王某1然后就说了我家住哪⾥，爹妈叫什么
                 名字，孩⼦住哪⾥，他说他那边都知道，说我在明处他在暗处让我⼩⼼⼀点，别到时候哭都
                 来不及，王某1这样威胁我，我就把和王某1联系的电话号码换了，这样我和王某1就再也没
                 有联系过。
                   被告⼈亢天辉2018年10⽉11⽇供述证明：2017年8⽉份左右，李某2给我发了⼀个视频聊
                 天，问我在丹东⾛边贸的渠道还有没有，我说这个渠道还有，李某2说有⼀个朋友的⽼板因
                 为公司倒闭了，想出去躲债，问我能不能联系，我就给丹东的成某打了电话，成某说每天都
                 有出境的，我就把这个回复给了李某2，这样曲某加了我微信。我和曲某在微信⾥联系，也
                 打过电话，联系的内容就是如果能安排⼈去朝鲜和韩国，我就去联系，他们可以过来看看聊
                 聊。我跟成某要了⼀个丹东的地址，李某2从北京开车到天津接上了我，我俩又接上了张
                 某，我们三个⼀起去了丹东。李某2把丹东的地址发给了曲某，这样曲某就开着⼤奔来了，
                 过来的有曲某、王某1及另外⼀个⼈，这是我们第⼀次见⾯。成某带我们去丹东旅游团看了
                 看，意思就是⾛旅游团出境。之后回到成某家，王某1和曲某又了解了⼀下朝鲜和韩国那边
                 的情况，还聊到⼈要是想在朝鲜待⼀年怎么办，旅游团这个途径⾏不⾏。我们说肯定不⾏，
                 因为签证有时间，超期了就会被朝鲜那边遣送回来。因为这个问题就没有继续往下说，也没
                 有说往下办不办，王某1和曲某他们三个就回去了。王某1临⾛之前把李某2叫出去了，给了
                 李某2⼀个⽜⽪纸的信封，回来我们打开⼀看是10万块钱。王某1他们之前就跟我们说了⽆论
                 这个事⼉成与不成，因为⼤家都跑腿了，这个钱就是跑腿的钱。曲某拿⾛了4万，因为⼀直
                 都是曲某张罗⽽且是曲某借的车拉我们去的丹东，我和张某分的剩下的钱，王某1他们⾛的
                 第⼆天，我和张某、李某2就开车回到了天津，之后李某2⾃⼰回了北京。在我们回程的路
                 上，在沈阳时曲某让我们再回丹东，意思是再聊聊这个事⼉，当时我就说如果按照他们说的
                 那是不可能的，⽽且当时王某1和曲某说的是三个⼈，我们以为就是王某1、曲某和另外那个
                 ⼈他们三个出去。
                   我回到天津之后，曲某和我联系，说这个事⼉有消息了，之后他⽼板会跟我联系。之后
                 王某1又联系我，联系结果就是让我到北京，告诉我见⾯的地点是国美第⼀城边上的海德酒
                 店。我到了海德酒店，在房间⾥王某1谈这个事⼉，曲某没有去。王某1说去朝鲜不能⾛正常
                 途径，先在朝鲜待半年，再在韩国待⼋年，⼀共三个⼈，也没有跟我说是不是他们三个⼈。
                 我说那只能⿊着⾛了，但是⿊着⾛有⿊着⾛的价格，每⼈10万，三个⼈是30万。王某1让我
                 们安排在朝鲜的⾐⾷住⾏，去朝鲜之后的费⽤他们⾃⼰承担，30万⾛的时候再给。当时就给
                 了我100万或者200万，因为之后还有⼀次在海德酒店和他见⾯，王某1也给我钱了，这两次
                 给钱哪次是100万哪次是200万我记不清了。30万算是我们办出境的钱，300万是他们去朝鲜
                 之后的费⽤，等于是放在我这⾥算作定⾦表明个态度，如果⼈不去了也不让我⽩忙活，我就
                 从这个钱⾥拿⾛30万，他们的吃穿就从这个300万**出。第⼆次王某1给钱的时候，跟我说三
                 个⼈的两个⼈不去了，说300万中那两个⼈的钱归我了，我才知道不是王某1他们三个去，这
                 样我第⼆次拿了王某1给我的钱，我⼼⾥觉得不太对劲，⾛的时候在海德酒店前台问了⼀下
                 服务员，说是王某1订的房间，这样我才知道王某1的名字。
                   第⼆次见完王某1之后，第⼆天王某1就让我去接⼈，我说我在丹东，去不了。王某1让
                 我第⼆天就把⼈送⾛，⼈还没见到就这么快让我送⼈出去，我⼼⾥也含糊了，怕这⾥⾯有事
                 ⼉，别是什么⾮吸公司的⼈或者在逃⼈员什么的。王某1说他开车把⼈送过来，我让他送到
                 丹东，王某1说太远，问送到天津⾏不⾏，这样就订好了送到天津。我安排商凤起和别⼈去
                 接的林某1，商凤起跟王某1说的当时就去丹东，实际上我⼈在天津呢，所以商凤起在宜兴埠
                 ⾼速出⼜接了林某1，我让商凤起上了⾼速好让王某1看见车是朝丹东去了，商凤起在下⼀个
                 出⼜出来，把⼈接到天津我住处。见到林某1之后就问了林某1到底是什么情况，让他洗澡借
                 机看看他⾝上有没有伤，有没有跟踪器什么的，这都是因为我对王某1这个事有些含糊。商
                                                                    1
    凤起对我说林某1和王某1在宜兴埠⾼速⼜分开的时候，王某1对林某1说差不多就早点回来，
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    林某1当时也说话了，具体说了什么商凤起没有对我说清楚。后来我把曲某、王某1还有另外
    那个⼈的特征跟林某1描述了⼀下，感觉他不认识曲某，但是他认识王某1和另外那个⼈之中
    的⼀个。我问林某1是怎么回事⼉，林某1对我说不要问那么多，为我好。见到林某1之前王
    某1有交代，说到朝鲜那边都听林某1的，说路上别跟林某1聊天，直接就去丹东。我也问林
    某1了怎么办，是报警还是回家，林某1就说先找个地⽅让他想想。林某1说⾃⼰在回家的路
    上被⼈带⾛了，然后就关起来了，不让他见⼈，吃饭也不是按时吃，⼿机和⾝份证都被拿⾛
    了。我叫了张某，让他帮我分析分析，我们也没分析出个对与错。
           被告⼈亢天辉2019年1⽉3⽇供述证明：2018年三四⽉份，我在哈尔滨某⼩区⽤⾃⼰的名
    字购买了⼀套房⼦，花了70多万。王某1给我的钱⾥⾯曲某拿⾛了110万，跟林某1在⼀起花
    了六七⼗万。我买过⼀辆⼆⼿的奔驰，花了20多万，后来车让我卖了，卖了30多万。李某
    2、张某不知道我从王某1处拿钱。
           16、被告⼈商凤起2018年9⽉1⽇供述证明：我和林某1在⼀起待了有三个多⽉，地点是
    在⿊龙江和厦门，是我⽼板亢天辉说林某1是他朋友让我招待，我们见⾯是在天津，在天津
    待了两天，从天津去的⿊龙江。招待就是正常的吃饭、玩玩啥的，我没有限制他的⼈⾝⾃
    由，他想去哪⾥就去哪⾥。他可能是公司出了点问题不想回家。我们在⼀起时花的都是亢天
    辉给我的钱。
           被告⼈商凤起2018年9⽉27⽇供述证明：林某1来之前两三天亢天辉跟我说他要来⼀个朋
    友，让我开车陪着他去接⼀下。当天晚上亢天辉开车来宿舍找我，亢天辉说接上这个⼈也不
    ⽤跟他说话，当时我也没想亢天辉是什么意思。我们在宿舍待了⼀会⼉，到了凌晨才开车去
    天津北⾠区宜兴埠⾼速路出⼜处。我和亢天辉到的时候对⽅还没有到，过了⼀会⼉从⾼速路
    出⼜开出来⼀辆⿊⾊轿车停在我的车后，汽车品牌型号和车牌号我都没看清。亢天辉让我在
    车上等着，他⾃⼰下了车⾛向那辆⿊⾊轿车。我坐在车⾥通过反光镜看到从⿊⾊轿车上下来
    两名男⼦，亢天辉和他们交谈⼏句就带着其中⼀名男⼦上了我开的轿车。上车以后亢天辉让
    我开车回宿舍，在去宿舍的路上亢天辉与那名男⼦就没有说话。到了以后那名男⼦跟着我和
    亢天辉回到宿舍，他们之间没有交谈，亢天辉就让那名男⼦睡觉，让我陪着他，并交代如果
    那名男⼦饿了让我给他买点吃的。之后亢天辉就⾛了，我陪着那名男⼦在宿舍睡觉了。
           第⼆天快中午的时候亢天辉才去宿舍，他到的时候我和那名男⼦还没有起床。起床以后
    亢天辉给我钱让我下楼买饭，我去买饭的那段时间亢天辉陪着那名男⼦在宿舍待着，我买饭
    回来以后我们三个⼈⼀起吃完饭亢天辉就⾛了，又是我陪着那名男⼦在宿舍待着。这样我和
    那名男⼦在宿舍待了⼀周左右，亢天辉⼏乎每天都来，但是时间不固定，有时中午来有时晚
    上来。我陪那名男⼦在宿舍的时候我们两个⼈基本上不说话，亢天辉会跟那名男⼦交谈。有
    时亢天辉让我外出买饭的时候跟他交谈，有时他们在另外⼀间卧室交谈，交谈的内容我不知
    道。
           ⼀周以后亢天辉让我开车带着他和那名男⼦去⿊龙江省伊春市，我就开着亢天辉的⽐亚
    迪“秦”轿车带着他们两个⼈去了伊春市友好区⼀座商业楼的⼆层。这房⼦是亢天辉提前找好
    的，房间⾥有两张床，有⼀个⾐柜、⼀台电视、⼀个洗⾐机，亢天辉安排我和那名男⼦住在
    这⾥，让我看着这名男⼦，如果这名男⼦要⾛就让我通知他。亢天辉⾃⼰不住这⾥，⽩天亢
    天辉有时过来，过了⼀周左右亢天辉就回天津了。在伊春我陪着那名男⼦期间我们两⼈开始
    聊天。我得知他叫林某1，是开公司的。他看亢天辉叫我亮⼦，林某1也叫我亮⼦。我和林某
    1平时交谈不多，主要就是问他吃什么，每天陪着他去吃饭，平时就在屋⾥待着，有时陪着
    他去外⾯逛逛。过了⼀段时间亢天辉回到伊春来找我们，有⼀次我听见亢天辉和林某1聊天
    时说这样看着林某1是受⼈之托，⽬的就是不让林某1回到公司。托亢天辉办这件事的⼈是林
    某1公司的⼈，林某1认识这个⼈。后来两⼈聊天时亢天辉还提到史某的名字，当时林某1很
    吃惊，表⽰不相信这件事。我们在伊春待了两个多⽉，这期间亢天辉让林某1使⽤我的⼿机
    给他的妻⼦和姐姐打过好⼏次电话，林某1告诉他妻⼦在⿊龙江伊春，让他妻⼦来伊春找
    他。他妻⼦说公司现在有很多⽋账，让林某1回北京处理，林某1不相信他妻⼦的话，又给他
    姐姐打电话核实公司的情况。他姐姐也说确实公司⽋了很多钱，让他回北京处理。但是林某
    1没有回北京，他和亢天辉商量去厦门。过了⼏天亢天辉把厦门的房⼦租好以后，我开着亢
    天辉借来的⼀辆奔驰SUV汽车带着亢天辉和林某1去了厦门。途中在天津住了⼀晚，亢天辉
    问他是否回北京，我们可以送他回去。林某1说：“算了吧，还是先去厦门吧。”我们开了三
    天车到了厦门，住在厦门⼤学对⾯的⼩区⾥，是**海景房。亢天辉在厦门待了不到⼀周就⾛
    了。我本想到了厦门也⾛，林某1说让我陪着他在厦门多待⼏天，这样我就⼀直陪着林某1在
    厦门住了⼆⼗多天。后来警察给亢天辉打电话找林某1，我就陪着林某1回北京了。
           我听亢天辉说是林某1公司的⼈让拘禁林某1的，⽬的是不让林某1回公司，但是我感觉
    不是林某1公司的⼈直接找的亢天辉，应该有中间⼈，但是我不知道是谁找的亢天辉。我感
    觉亢天辉的⽔平应该不直接认识林某1公司的⼈。让林某1给他家⼈打电话是亢天辉安排的，
    我也不知道为什么这样，我就是按照亢天辉的指⽰办。之所以配合林某1⾮法拘禁林某1，就
    是想多挣点钱，亢天辉每⽉给我5000元⼯资，他说到时候多给我点钱，没说给多少，也没有
    给这笔钱。我不知道亢天辉这件事获利多少。
           被告⼈商凤起2018年9⽉29⽇供述证明：这些天我⾃⼰⼀直在考虑，⽽且经过民警的耐
    ⼼谈话和教育，我现在都想明⽩了，我也想争取从轻处理的机会，你们问我的问题我都会⼀
    五⼀⼗的说清楚，我也想争取从轻处理的机会。
           2015年我在天津梅花物流公司上班，因为⼯作认识了亢天辉。除了⼯作接触之外，我们
    私下也经常⼀起吃吃喝喝。2017年七⼋⽉份的时候，亢天辉让我跟着他⼲，给他当司机，我
    就从原单位辞职开始跟着亢天辉⼲了，他每⽉给我5000元⼯资，具体⼯作职责除了帮着他家
    公司发货以外，主要就是给他当司机，带着他到处跑，⼀直开的是⽐亚迪秦三厢轿车，车牌
    号是×××。
           印象⾥我最早见到林某1是2017年8⽉底的⼀天半夜零点左右，之前没有见过他，也不认
    识他。在这之前两三天，亢天辉对我说过⼏天有个⼈让我给看⼏天，别让那⼈⾛，如果他要
    ⾛或是有什么事情就让给我给亢天辉打电话。当时我问亢天辉看的是什么⼈，具体是⼲啥
    的，亢天辉说他也不知道，让我不要多问。后来他说让我放⼼不会有事⼉，说那个⼈挺⽼实
    的，还说完事⼉之后多给我点钱。我当时想着能挣钱，也就没有多想，就答应了。在跟林某
    1见⾯的那天晚上，亢天辉让我开着他的⽐亚迪轿车去接要看着的⼈，⼀直开到京津唐⾼速
    天津宜兴埠出⼜的路边，亢天辉跟什么⼈通了电话，⼤概内容就是说我们到了，在什么地⽅
    等着。他⾃⼰下车⾛到后⾯那辆车边上，我通过后视镜看到从后⾯那辆车上下来两名男⼦，
    他们⼀起待了⼤概⼀两分钟的时间，之后亢天辉带着其中⼀男⼦回到我们车上，那个男⼦就
    是林某1。当时亢天辉回到车上还拿了⼀个⼿提布袋，袋⼦有⼀个普通鞋盒⼤⼩，⾥⾯有半
    袋⼦东西，⿎⿎囊囊的，具体装的什么我也不知道。亢天辉没让我看也没有跟我说⾥⾯是什
    么，应该是后车上的男⼦给亢天辉的，因为他下车时没有这个布袋⼦。后车上的另外⼀名男
    ⼦就开车⾛了，亢天辉让我开车回到了宿舍。林某1当时⾝体状态和精神状态都正常，也没
    发现伤病，⼈看着⽐较瘦⼀些，⾐着⼲净也没有什么特殊的，除了脖⼦上带着由⼀条绳⼦挂
    着⽟佛像的项链外，他⾝上什么东西都没有，包括⼿机、钱、证件什么都没有。我宿舍位于
    天津市北⾠区⼀个⼩区左⼿边第⼀栋楼第⼀个单元门的16层，具体地点、⼩区名称、楼门号
    我真的说不上来。我刚到亢天辉公司上班的时候，他就让我住在那⾥，房⼦应该是亢天辉租
    的。当天我们回到我宿舍后，亢天辉在卧室⾥躺了⼀会⼉，之后他就开车⾛了，留下我陪着
    林某1⼀起住。
           我们在天津住了⼤概⼀个星期左右，突然⼀天晚上⼋九点钟的时候，亢天辉来到宿舍对
    我和林某1说收拾东西去⿊龙江，也没有说为什么，我和林某1都没有问。后我们连夜开着亢
    天辉的⽐亚迪轿车去了⿊龙江，路上我和亢天辉倒着开，⼀直到第⼆天下午两三点钟的时候
    到了⿊龙江省伊春市。我们先找⼀个商店给林某1买了⼀⾝⾐服和⼀些⽣活⽤品，之后亢天
    辉开车带着我到了伊春市友好区临街的⼀个类似商铺的⼆层⼩楼⾥，是亢天辉拿钥匙开的
    门，我和林某1就在那个⼩楼⾥住下了，亢天辉就⾛了。此后的⼀个星期左右，亢天辉基本
    上每天都去，但待的时间都不长，有时候去了就是问问林某1怎么样，有没有什么事情，没
    事⼉的话就在屋⾥转⼀圈⾛⾛了，我就⼀直陪着林某1待着。因为那⾥不能点外卖，我和林
    某1两个⼈⼀起出去吃饭再回⼩楼⾥待着。后来在伊春市住了⼀星期左右，亢天辉跟我说他
    要回天津，让我有什么事情就给他打电话，给了我3000元让我们吃饭，之后他就⾛了。后我
    和林某1每天除了吃饭买东西就是在⼩楼⾥待着，也没有去过其他地⽅，就这样过了⼗多天
    亢天辉又回来了，不定时到⼩楼看看，期间跟林某1聊过⼏次，又给我留了两三千元现⾦，
    待了⼀周左右，亢天辉就又将近⼗多天没有去，这次也没有对我说他去哪⼉了，我也没有
    问。之后又过了⼗天半⽉左右，亢天辉第三次来到伊春的⼩楼见我们，这次就是商量去厦门
    的事情，在伊春的经历⼤致就是这样的，我印象⾥就记得这些。⾃始⾄终亢天辉没有说过为
    什么去伊春市，我感觉可能是伊春市是亢天辉的⽼家，亢天辉对那边⽐较熟悉。我没听到林
    某1有什么表态，他没有拒绝或者表⽰不愿意去。我们在伊春待了⼤概两个⽉的时间。除了
    我和亢天辉，林某1没有和其他⼈接触过。刚到伊春市的时候，亢天辉之前在天津给我的1万
    元还没有花完，我们就继续花。在伊春期间，亢天辉⼀共给过我三次钱，第⼀次是在亢天辉
    离开伊春前，他给了我3000元现⾦，第⼆次给钱是在他第⼆次离开伊春前，他给了我两三千
    元，第三次是在去厦门之前，他通过微信给我转了2000元。上述这些钱都是我和林某1的⽣
    活费，不是专门给我的钱。
           在伊春市期间，林某1状态正常，他也没有提出过什么要求。亢天辉和林某1除了唠⼀些
    家常，有⼀次我听到亢天辉问林某1认不认识⼀个叫史某的⼈，林某1说认识，亢天辉就说这
    事⼉是史某让⼀个叫南哥的⼈办的，是南哥把林某1交到我们⼿上，为的就是不让林某1在他
    ⾃⼰的公司露⾯，说是公司⾥有⼀个什么交易，现在不能让林某1出现，等交易完成之后林
    某1再出现就没事⼉了。我只听到这些，具体他们之间说的林某1什么公司我也不知道，说的
    什么交易我也不明⽩，当时林某1还表⽰不相信亢天辉说的这些，其他的我就不知道了。在
    天津以及在伊春的初期，我和林某1之间基本不怎么说话，后来在伊春我和林某1⼀起出门吃
    饭买东西的时候，才开始慢慢聊聊天，但说的都不深⼊，他只是跟我提起过他开了⼀家叫某
    科技的公司，转给他姐姐了，还提起过他媳妇，说是在什么地⽅上班，其他我都想不起来
    了，也都没说啥。另外，在亢天辉第⼆次到伊春的时候，他问林某1有什么想做的，林某1说
    想跟他家⾥⼈通话问问家⾥的情况，亢天辉就同意了，之后亢天辉从外⾯买来电话卡，让我
    把卡装在我当时使⽤的⼀部苹果⼿机⾥交给林某1，让林某1⽤我的电话给家⾥⼈打电话。打
    完电话后，亢天辉把他买的电话卡从⼿机⾥取出来拿⾛了，我把我的电话卡放回我的⼿机
    ⾥，期间林某1⽤我的⼿机给家⾥打过很多次电话。每次都是这样，亢天辉总共买过三四张
    电话卡给林某1打电话⽤，具体号码我不知道，是不是实名制我也不知道，为什么中途换卡
    我也不清楚。林某1只是给他姐姐和他媳妇打过电话，打了很多次，没有给其他⼈打过。我
    听到的就是林某1问问家⾥的情况、公司的情况，有⼀次林某1跟他媳妇还提到了史某，具体
    他媳妇怎么说的我就不知道了。我听林某1跟家⼈说过在⿊龙江，应该是没有说过具体位
    置，还跟家⼈说⾃⼰⽬前状态挺好，别的就没有了。我从来没有跟林某1家⼈通过话，但是
    亢天辉跟林某1媳妇通过电话，具体⼏次我忘记了，印象⾥是林某1对他媳妇说⾃⼰在⿊龙
    江，他媳妇不相信，林某1就把电话交给亢天辉，亢天辉对林某1媳妇说确实是在⿊龙江等，
    帮着给证实⼀下林某1说的话，当时林某1都在边上听着呢。在去厦门之前，林某1给他媳妇
    打电话要过钱，当时是在亢天辉第三次到伊春的时候，林某1跟亢天辉提出想去厦门开公
    司，说是⼲婚礼和派对视频拍摄、游艇租赁⽅⾯的事情，亢天辉说可以，等他先安排好之后
    再去，亢天辉还对林某1说要是去厦门的话亢天辉⼿⾥没那么多钱，让林某1⾃⼰向办法，之
    后林某1就给他媳妇打电话要钱，但是他媳妇好像不愿意给，最后到底给没给我也不知道。
    ⾄于林某1媳妇是否给过林某1钱或者银⾏卡，我不知道，没有听林某1或者亢天辉说过。
           ⼤概是2017年12⽉初，亢天辉说是把厦门那边的事⼉安排好了，不知道他从什么地⽅找
    来⼀辆⽩⾊奔SUV，我们就开车从伊春到了天津。当时亢天辉还问林某1回不回北京的家，
    要是回的话把林某1送回去，林某1说不回北京，于是亢天辉让我⽤我的⾝份证在天津市北⾠
    区⼀家宾馆开了⼀个房间，当晚我和林某1住的，亢天辉不知道去哪⾥了。第⼆天我们三个
    开车去了厦门。到了厦门后直接去了厦门⼤学对⾯的⼀个⼩区，当时有⼀个⼥的在等我们
    不，她⽤钥匙给我们打开了⼀处住房，后我们⼀起吃饭，我和林某1在房间⾥住下，亢天辉
    和那个⼥的就⾛了。⼩区的名称叫某花园，应该是亢天辉让那⼥的帮着租的。到了厦门之后
    亢天辉好像待了两三天，没有跟我和林某1住⼀起，期间来我们住的地⽅两次，也没说什
    么，后来他说家⾥有事⼉就⾃⼰开车⾛了。当时我说我也想⾛，亢天辉问林某1⾏不⾏，林
    某1⾃⼰说让我留下再跟他待⼀段时间，于是亢天辉没有让我⾛。此后就还是我跟林某1住⼀
    起，每天除了吃饭买东西就是跟着林某1在⼩区外的海边溜达，林某1也没有带我出去找过什
    么开公司的地⽅，也没有再说什么开公司的事情。前后⼀共在厦门待了将近⼀个⽉，在12⽉
    底的⼀天亢天辉给我打电话说北京朝阳分局的民警在找林某1，说是林某1的家⼈在北京报警
    了，说林某1失踪了，⾄于是让我通知林某1给北京警察回的电话，还是我把林某1的⼿机号
    告诉了亢天辉然后北京警察给林某1打的电话，我记不清了，警察就说让林某1回北京到派出
    所说明情况，于是我和林某1当天就去厦门机场买了飞机票，因为林某1当时没有⾝份证，他
    还在机场办理了⼀张⾝份证，我们两个从厦门飞回了北京。亢天辉及之前在厦门我见过的那
    个⼥⼦⼀起在⾸都机场接的我们，我们⼀起吃了顿饭，然后在⼀个派出所又开了⼀张⾝份证
    明，我们⼀起在派出所旁边的⼀家宾馆开了两间房，我们的⾝份都在宾馆登记了，我和林某
    1还是住⼀起，亢天辉⾃⼰住的，那⼥的有没有住我就不知道了。第⼆天我醒来，林某1不在
    房间了，后来亢天辉说他⼀早就和林某1去找林某1的姐姐了，他是回来接我去派出所说明情
    况的，我们到了⼀个派出所后，等了⼀下午林某1也没有来，亢天辉跟林某1的姐姐和媳妇通
    电话也没有找到林某1，之后就联系了在厦门时和我们联系的那个民警，民警说让我们先回
    去，于是我和亢天辉就离开派出所回了天津，到了天津我也没有再去亢天辉的公司⼯作，因
    为快元旦了，我在朋友那⾥待了⼏天，之后就回⽼家了。
           在厦门期间，林某1没有跟别⼈接触过，但是还是跟他姐姐和媳妇经常通电话，具体说
    什么我没有仔细听，也不知道都说了什么。亢天辉在离开厦门之前给了林某1⼀部⿊⾊苹果
    ⼿机，还给了林某1三张电话卡，号码我不知道，另外为了林某1上⽹⽅便，我在厦门还⽤我
    的⾝份证给林某1办了⼀张“⼤⽹卡”，办完就给林某1了，林某1就是⽤那部⼿机和那⼏个号
    码跟家⼈通话的，最后那部⼿机和那⼏个电话卡也都被林某1拿⾛了。起初在伊春每次林某1
    打完电话，亢天辉还把电话卡拿⾛，到了厦门之后林某1就是随时⽤⼿机跟家⼈联系，电话
    也⼀直在林某1⼿⾥。我不知道他家⼈为什么报警。
           在这件事情期间，亢天辉给我的钱都是我和林某1的⽣活费，基本上全都花光了，最后
    我们跟林某1分开回到天津后，亢天辉给了我不到3万元现⾦，⼤概是28000到29000元左右，
    我没细数，包括我之前⼏个⽉的⼯资和亢天辉额外给我的好处费。
           在天津我和亢天辉分开之后我就回⽼家了，2018年春节前，我⼿⾥没钱了，⽽且之前跟
    林某1在⼀起的时候，我⾃⼰也曾经垫过些钱当⽣活费，于是我就联系了亢天辉，问他能不
    能给我点钱花，于是他就通过微信给我转过来1万元，好像是分两次转的，每次五六千元，
    再之后就是今年4⽉份我在⽼家买完车，没钱还车贷，我联系亢天辉问他能不能借给我点
    钱，亢天辉还是通过微信给我转的，好像⼀次是2000元，⼀次是1000多元，当时亢天辉还说
    让我先别找⼯作，等他在天津那边⼲点什么，让我过去再找他⼀起做。到了五六⽉份亢天辉
    那边⼀直没有消息，我就去沈阳找了个⼯作，7⽉底因为⽼家的⼀个爷爷去世了我就回了⽼
    家。8⽉初亢天辉给我打电话，说是林某1跟他联系了，让我们去亢天辉⽼家那边的⼀个公安
    局去⾃⾸，说是林某1跟公安局长联系好了，说我们去了肯定没事⼉，后我就答应了。8⽉9
    号或者是10号我先到的哈尔滨，亢天辉开车接的我，然后带我去的伊春。8⽉12⽇，亢天辉
    同林某1说的那个公安局长联系了，但是对⽅当天不在，我们没有见到那个局长，后局长让
    我们去当地⼀个刑警队⾃⾸，具体局长跟亢天辉怎么说的我不清楚，后我就跟着亢天辉去了
    刑警队，做完笔录之后就把我们拘留了，后来北京的警察就过去把我们接回了北京。去⾃⾸
    前，亢天辉说警察问话的时候，让我跟警察说我只是陪着林某1来的，其他的什么都说不知
    道，还说之前跟林某1在⼀起期间听到的、看到的包括提到的史某、南哥等那些事⼉都不要
    跟警察说，后来我到公安局后就⼀直什么都没说，但是经过警察这么长时间的教育，我现在
    明⽩了，我愿意把事情都跟警察说清楚。
           在跟林某1在⼀起的整个过程中，我和亢天辉没有进⾏过⾔语威胁或者是殴打。在伊春
    时，就在亢天辉跟林某1聊天提起史某那个名字的时候，我曾经听亢天辉跟林某1说起过朝
    鲜，但是我没听清具体怎么说到的朝鲜，期间我们也都没有去过边境等地⽅。
           被告⼈商凤起2018年10⽉5⽇供述证明：在天津的时候我们三个⼈看着林某1，另外两个
    男⼦我不认识。我到亢天辉租的房⼦的时候只有我⼀个⼈，这两个⼈是亢天辉当天晚上接来
    的，我印象中亢天辉给我介绍了这两个⼈的名字，让我晚上开车拉着他们两个⼀起去接⼈，
    亢天辉还给了我⼀部⽼款的⼩⼿机，不是智能⼿机，还给了我⼀个号码，让我到了宜兴埠⾼
    速⼜后给对⽅打电话接⼈。当时应该是2017年8⽉底的⼀天，亢天辉让我们出门接⼈⼤概是
    夜⾥12点左右，我开着带着另外两个⼈到了宜兴埠⾼速出⼜，就拨打了亢天辉给我的那个电
    话，对⽅是⼀个男⼦接的，说让我等⼀会⼉。后来过了约⼗⼏分钟，对⽅给我打电话说到
    了，他的车停在⾼速的另⼀出⼜，我开车到了另⼀个⼜，看到⼀辆⿊⾊的车，我不知道是不
    是，电话联系对⽅，对⽅说看到我的车了，让我停在那⾥。我看到那辆⿊⾊的车上下来两个
    男⼦向我的车⾛来，见⾯后其中⼀个问我“谁让你来的”，我说亢天辉让我来的，对⽅说“就
    是这个⼈”，后来我们将林某1带上车，后来对⽅拿给我⼀个布兜，让我把兜⼦交给亢天辉，
    对⽅男⼦就⾛了，我将布兜放在了后备箱，后开车回到亢天辉租的房⼦，当时⼤约是凌晨两
    点钟。见到亢天辉后他说让我们都睡觉，看好⼈，让我们有事⼉给他打电话，让林某1到⼀
    个卧室内睡觉，后亢天辉拿着布兜⾛了，我们就睡觉了。那个布兜我感觉装的是钱，⼤约有
    两三捆、有⼆三⼗万元吧。
           第⼆天中午亢天辉来了，让我们看好⼈，没事⼉尽量不要和林某1说话，有事⼉给他打
    电话，后亢天辉给了我5000元，让我们⾃⼰订外卖买吃的，后来亢天辉就⾛了。我们三个⼈
    在亢天辉租的房⼦⾥看了林某1⼤约⼀周的时间，期间亢天辉每天都来，我印象中亢天辉和
    林某1私下聊过两次，具体说什么我也不清楚，我和另外两个⼈基本上不说话。⼤约过了⼀
    周时间，⼀天晚上亢天辉来了，后来他说“咱们⾛”，后叫上林某1⼀起下了楼，亢天辉开车
    我坐副驾驶，林某1坐后⾯，开车后亢天辉对林某1说：“去我⽼家那⾥待⼀段时间吧。”林某
    1说“听你的”，我才知道是去⿊龙江伊春亢天辉的⽼家。第⼆天到了伊春市，我们三⼈先去
    买了点⾐服，后来到了⼀个⼆层⼩楼，我们住在⼆层，房间的家具基本齐全，亢天辉让我们
    两个先在那⾥住⼀段时间，没事⼉可以出去溜达溜达。在伊春亢天辉没有和我们住在⼀起，
    他让我有事⼉随时给他电话。亢天辉差不多每天都来，每次来了都和林某1聊⼀会⼉，过⼀
    会⼉就⾛。⼤约过了⼀周时间，亢天辉说有事⼉要回天津，让我在伊春陪着林某1，临⾛时
    给我留了3000元钱。后我就在伊春看着林某1，林某1⼀般都是看书看电视，我俩每天都出去
    买饭，有时候出去溜达溜达。⼤约过了⼗⼏天，亢天辉回来了，问林某1有什么需求，林某1
    说要给家⾥打电话，亢天辉说可以。过了⼀两天亢天辉拿来三四张⼿机卡，把卡放在我⼿机
    ⾥，让林某1给他家⾥打电话。林某1给他妻⼦和姐姐打了电话，具体说什么我也没听，林某
    1打电话是亢天辉在⼀边看着，打完电话后亢天辉就把⼿机卡拿⾛了。亢天辉这次回来待了
    ⼤约⼀周左右，期间林某1给家⾥打了两三次电话。亢天辉离开了⼗⼏天后又回来了，他和
    林某1聊天时提到了史某和南哥，好像是这两个⼈不让林某1露⾯，我就是断断续续听到⼏
    句，有时我和林某1聊天，但是他不说⾃⼰什么事⼉，只是说以后想做什么等等。这段时间
    亢天辉没有离开伊春，他隔天来看我们⼀次。⼤约在11⽉底，林某1说伊春冷想去厦门，之
    前林某1说想做游艇⾏业，我猜想林某1想去厦门考察。林某1让亢天辉联系租厦门的房⼦，
    他们商议如何去厦门，到厦门怎么办等等。过了⼏天，⼤概是11⽉底或者12⽉初，⼀天上午
    亢天辉找到我们说去厦门，我们三个开⼀辆⽩⾊SUV离开伊春，当天晚上到了天津，在北⾠
    区的⼀个酒店住了⼀晚。当时亢天辉问林某1是否回北京，林某1说去厦门，第⼆天晚上我们
    三⼈开车去了厦门。亢天辉提前找⼈在厦门⼤学对⾯租了海景房，我和林某1住在那⾥，亢
    天辉住什么地⽅我不知道。第⼆天上午亢天辉来和林某1聊了⼀会⼉，第三天上午亢天辉来
    和林某1聊了⼀会⼉⼈就⾛了，让我陪着林某1，当时快过元旦了，我告诉亢天辉想回家，亢
    天辉问林某1，林某1说让我再陪他⼀段时间，亢天辉就让我留下。⼤概过了⼗⼏天，亢天辉
    和林某1电话联系，说让林某1和北京市公安局联系，详细情况我不了解，是林某1打给公安
    局还是公安局打给林某1我忘记了。联系上后林某1让我和他回北京，我电话联系亢天辉问怎
    么办，亢天辉让我订机票回北京。我和林某1飞回北京到了⾸都机场，亢天辉和⼀个⼥⼦在
    机场接的我们，后吃晚饭找宾馆睡觉，我和林某1⼀个房间，早上醒来我发现林某1已经⾛
    了。后来亢天辉来接我，说要去派出所，后来我们在⼀个派出所门⼜等林某1，等到下午四
    点多林某1也没来，后亢天辉给⼀个警官打电话，当时我不知道他怎么说后，亢天辉说没我
    们的事⼉，我们就回去了。
           在看林某1期间，前期亢天辉给了我4万多元的⽣活费，我和林某1都花了，在我们从北
    京回天津后，亢天辉又给了我⼤约28000元，亢天辉说⼲这事⼉每⽉给我5000元⼯资，事后
    再多给我点钱。
           投案前亢天辉告诉我说没有事⼉，让我进去后问什么都说不知道就⾏了。
           当庭，辩护⼈提交、出⽰了亢天辉妻⼦⾟某提供的两段与林某1通话的视频，内容为林
    某1告知⾟某⾃⼰已经在北京市公安局朝阳分局报案，公安机关已经⽴案，同时称亢天辉对
    其挺关照的，希望亢天辉去投案。林某1在庭审中表⽰，其所说的关照是指亢天辉没有像雇
    主要求的那样把他送到朝鲜。
           上述证据经举证、质证，被告⼈亢天辉、商凤起对在天津和伊春⾮法拘禁林某1的事实
    供认不讳，和林某1的陈述相互印证。亢天辉和商凤起辩称在厦门期间林某1是⾃由的，但林
    某1当庭称在厦门期间也是全天受到商凤起控制，⾃⼰并没有⼈⾝⾃由。从在案证据看，在
    厦门期间商凤起是因为接到了警⽅的电话才和林某1⼀起回到北京，如果不是为了⾮法拘禁
    林某1，商凤起之前完全可以⾃⾏离开厦门，之前林某1被⾮法控制⼀年有余，在厦门期间其
    如果有⼈⾝⾃由却不回北京也明显不合常理。因此对⼆被告⼈关于在厦门期间没有拘禁林某
    1的辩解，本院不予采信，其他证据经举证、质证，本院对相互印证的部分予以采信。
           本院认为，被告⼈亢天辉、商凤起法制观念淡薄，⾮法拘禁他⼈，⼆被告⼈的⾏为侵犯
    了他⼈⼈⾝权利，触犯了刑法，已构成⾮法拘禁罪，依法应予惩处。北京市朝阳区⼈民检察
    院指控被告⼈亢天辉、商凤起犯⾮法拘禁罪的事实清楚，证据确实、充分，指控罪名成⽴。
    亢天辉、商凤起此前没有前科劣迹，主动投案，当庭对部分犯罪事实予以承认，故本院对⼆
    被告⼈所犯罪⾏均予以从轻处罚，并结合⼆被告⼈在共同犯罪中的具体作⽤予以量刑。亢天
    辉辩护⼈辩称亢天辉系初犯，接⼿后对林某1没有体罚、虐待⾏为，对林某1⼈⾝⾃由限制程
    度相对较轻，建议法庭对其从轻处罚，上述意见本院予以采信；关于亢天辉有⾃⾸情节的意
    见，经查，亢天辉虽然⾃动投案，但是到案后并未如实供述⾃⼰的犯罪⾏为，当庭对在厦门
    期间⾮法拘禁林某1的事实也予以否认，不具备⾃⾸所要求的如实供述要件，不属于⾃⾸，
    因此对该项辩护意见，本院不予采纳。商凤起的辩护⼈辩称商凤起系初犯，该意见本院予以
    采纳；辩称商凤起有⾃⾸情节，属于从犯，建议对其适⽤缓刑，经查，商凤起虽⾃动投案，
    但到案后未如实供述，当庭也否认在厦门对林某1有⾮法拘禁⾏为，不属于⾃⾸；商凤起⾃
    接到林某1后⾃天津到伊春到厦门，期间⼀直对林某1进⾏看管，商凤起对林某1直接实施⾮
    法拘禁⾏为，在共同犯罪中并⾮起次要或者辅助作⽤，不属于从犯；商凤起⾮法拘禁林某1
    三个⽉有余，社会危害性严重，且其当庭对部分犯罪事实不予承认，不符合缓刑的适⽤条
    件；因此对辩护⼈的上述意见，本院不予采纳。⼆被告⼈的犯罪所得，依法应予追缴。根据
    在案证据，本院认定亢天辉⾮法所得⼈民币155万元，商凤起⾮法所得⼈民币28000元。在案
    之OPPO牌⼿机，商凤起供称在拘禁林某1时予以使⽤，系犯罪⼯具，依法应予没收。在案
    之苹果牌⼿机两部，亢天辉供称没有在拘禁林某1时使⽤过，系其个⼈物品，本院依法予以
    处理。在案查封的房产⼀套，系亢天辉所有，本院依法予以处理。综上，根据被告⼈亢天
    辉、商凤起犯罪的事实、犯罪的性质、情节以及对于社会的危害程度，本院依照《中华⼈民
    共和国刑法》第⼆百三⼗⼋条第⼀款、第⼆⼗五条第⼀款、第六⼗⼀条、第四⼗五条、第四
    ⼗七条、第六⼗四条之规定，判决如下：
           ⼀、被告⼈亢天辉犯⾮法拘禁罪，判处有期徒刑⼆年六个⽉（刑期从判决执⾏之⽇起计
    算。判决执⾏以前先⾏羁押的，羁押⼀⽇折抵刑期⼀⽇。即⾃2018年8⽉12⽇起⾄2021年2⽉
    11⽇⽌）。
           ⼆、被告⼈商凤起犯⾮法拘禁罪，判处有期徒刑⼆年三个⽉（刑期从判决执⾏之⽇起计
    算。判决执⾏以前先⾏羁押的，羁押⼀⽇折抵刑期⼀⽇。即⾃2018年8⽉12⽇起⾄2020年11⽉
    11⽇⽌）。
           三、继续追缴亢天辉⾮法所得⼈民币⼀百五⼗五万、商凤起⾮法所得⼈民币⼆万⼋千
    元，予以没收。
           四、在案之房产⼀套、苹果牌⼿机⼆部，变价后折抵被告⼈亢天辉的⾮法所得款；在案
    之OPPO牌⼿机⼀部，予以没收。
           如不服本判决，可在接到判决书的第⼆⽇起⼗⽇内，通过本院或者直接向北京市第三中
    级⼈民法院提出上诉。书⾯上诉的，应当提交上诉状正本⼀份，副本⼆份。
                                                                    审    判   长   徐清岱
                                                                    ⼈民陪审员        王   萍
                                                                    ⼈民陪审员        刘帅锋
                                                                   ⼆〇⼆〇年九⽉⼆⼗三⽇
                                                                    书    记   员   王   鑫


  [关联⽂书]

           刑事⼆审   北京市第三中级⼈民法院     （2020）京03刑终618号     2020-11-06    维持
  本篇       刑事⼀审   北京市朝阳区⼈民法院     （2019）京0105刑初1095号    2020-09-23   判决



                                          公告

       ⼀、本裁判⽂书库公布的裁判⽂书由相关法院录⼊和审核，并依据法律与审判公开的原则予以公开。若有关当事⼈对相关信息内容有异

  议的，可向公布法院书⾯申请更正或者下镜。

       ⼆、本裁判⽂书库提供的信息仅供查询⼈参考，内容以正式⽂本为准。⾮法使⽤裁判⽂书库信息给他⼈造成损害的，由⾮法使⽤⼈承担

  法律责任。
                                                                                         指导
       三、本裁判⽂书库信息查询免费，严禁任何单位和个⼈利⽤本裁判⽂书库信息牟取⾮法利益。                                         案例
       四、未经允许，任何商业性⽹站不得建⽴本裁判⽂书库的镜像（包括全部和局部镜像）。                                           推荐
                                                                                         案例
       五、根据有关法律规定，相关法院依法定程序撤回在本⽹站公开的裁判⽂书的，其余⽹站有义务免费及时撤回相应⽂书。




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| 中国执⾏信息公开⽹ | 全国法院减刑、假释、暂予监外执⾏信息⽹ | 中国涉外商事海事审判⽹ | 最⾼⼈民法院服务⼈民群众系统场景导航 |
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                                          北京市朝阳区人民法院

                            刑 事 判 决 书（2019）京 0105 刑初 1095 号
                         Criminal judgement (2019) Jing 0105 Xing Chu #1095
                              Beijing Chaoyang District People's Court



公诉机关北京市朝阳区人民检察院
Public Prosecution Office: Beijing Chaoyang District people's Procuratorate


北京市朝阳区人民检察院以京朝检公诉刑诉[2019]1001 号起诉书指控被告人亢天辉、商凤起犯非法

拘禁罪，于 2019 年 5 月 13 日向本院提起公诉。本院依法组成合议庭，公开开庭审理了本案。北

京市朝阳区人民检察院指派检察员贾晓文、周芹出庭支持公诉，被害人林某 1、被告人亢天辉及其辩

护人王猛、被告人商凤起及其辩护人余国飞波到庭参加了诉讼。现已审理终结。
With criminal indictment Jing Chao Jian Public Prosecution Xing #[2019]1001, Beijing Chaoyang District
people's Procuratorate charged against the defendants Kang Tianhui (KTH), Shang Fengqi (SFQ) false
imprisonment offence, and filed a public prosecution with the Court on May 13,2019. The Court formed a
collegial panel by law, and heard the case in public court. Beijing Chaoyang District people's Procuratorate
assigned prosecutors Jia Xiaowen and Zhou Qin to appear in court to support the public prosecution. The
victim Lin1, the defendant KTH and his defence counsel Wang Meng, the defendant SFQ and his defence
counsel Yu Guofeibo attended the proceedings. The trial has now been concluded.


北京市朝阳区人民检察院向本院移送了被害人陈述、证人证言、被告人亢天辉和商凤起在公安机关的

供述等证据材料，指控被告人亢天辉、商凤起的行为构成非法拘禁罪，提请本院依照《中华人民共和

国刑法》第⼆百三⼗⼋条第⼀款之规定，予以惩处。
Beijing Chaoyang District people's Procuratorate transferred to the court evidence materials including the
victim statement, witness testimony, confessions of defendants KTH and SFQ to the public security unit, to
accuse that acts of defendants KTH and SFQ constitute false imprisonment offense, and requested this Court
punishment in accordance with Article238(1) of Criminal Law of the People's Republic of China .


上述事实，有公诉机关提供的以下证据予以证明:
The above facts are supported by the following evidence provided by the Public Prosecution Service:



                                                      3
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1、被害⼈林某 1 在 2018 年 8⽉3⽇陈述证明：...2017 年 8⽉底，这伙⼈开车将我带到天津，把我交到

以亢天辉为⾸的 5 个⼈⼿⾥，这个阶段亢天辉也不要求我带眼罩和⼿铐了，但是全程安排了 3 个⼈看

着我。...在伊春待了将近 3 个⽉，这期间亢天辉觉得我也不是坏⼈，对我说雇佣他的⼈给了他 600 万

让他把我带到北朝鲜，永远不让我回国。事实上亢天辉没有这么做，只是把⼀部⼿机放到了丹东定了

⼀个位置，给他的雇主发了过去，谎称已经把我送到了北朝鲜。...我没有任何⼈⾝⾃由，他们还说跟

当地警⽅很熟，所以我不能也不敢报警。...后来我知道我妻⼦报警了，朝阳刑侦⽀队的⾼警官后来也

联系了李某 1 的领导，李某 1 和亢天辉联系后，亢天辉就把我带回北京让我回家了。之后亢天辉打

电话找我，在电话⾥他提到了史某，说他躲⼀ 段时间，担⼼史某找他，这个我现在有录⾳，我觉得
史某就是他的雇主。
1. Victim Lin1 stated on Aug 3, 2018, which proved that: ...At the end of August, 2017, this gang drove me
to Tianjin and handed me over to five guys led by KTH, at this stage, KTH did not require me to be
blindfolded and handcuffed, but had three of them to watch me at all time. ... It was nearly 3 months that I
was kept in Yichun, during which KTH felt like I was not a bad buy, told me the person who hired him gave
him 6million Yuan and asked him to take me to North Korea, and never let me to come back to the country.
In fact KTH did not do so, he just locate a mobile in Dandong and sent GPS to the hirer, lied that I was sent
to North Korea.... I don't have any personal freedom. They also said they are very close to the local police.
So I can't and dare not call the police....Later I knew my wife called the police, Chaoyang Criminal
investigation team Officer Gao later also contacted Li ‘s boss, Li then contacted KTH. KTH took me back to
Beijing and released me home. Later KTH called me, he mentioned Shi on the phone, said he would hide for
a period of time, worrying Shi chase him. I still have this phone call tape, I think Shi hired him.


亢天辉曾问我认识不认识王某 1，我开始不知道是什么意思，后来亢天辉跟我说绑架我的第一波人中

有个叫王某 1 的，他还说找王某 1 的人是跟雇主非常接近的人，应该是雇主的表弟什么的，而且他

见 过这个人，通过亢天辉的形容这个人和连某的体型很像。
KTH once asked me if I knew Wang1. I didn't know what he meant. Later, KTH told me that one of the first
group of kidnappers was called Wang1. He also said that it was someone very close to the client who hired
Wang. That person should be the client's cousin or something. And he met this person once. From KTH’s
description, this person has a very similar body shape at that time to Lian.


...因为 2016 年 11⽉10⽇我被绑时，五六个⼈从我⾝后把我的头⼀蒙，⼏秒钟就抬上了车。我担⼼那

种情况再⼀次发⽣。亢天辉说过雇佣⽅会监控我的出⾏记录，我和商凤起从厦门坐飞机回北京，雇佣

⽅可能会发现，会继续绑架我。...事实也是如此，史某在得知我回来后，继续骚扰威胁我和家⼈。
... Because when I was kidnapped on Nov 10, 2016, there were five or six guys covered my head and carried
                                                       4
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me into the vehicle in just a few seconds. I worried that could happen again. KTH mentioned the hirer would
track my moves, SFQ and I came back to Beijing from Xiamen by flight, the hirer may find out and, will
keep trying to kidnap me.... It is also the fact, Shi continued to harass me and my family once he learned my
return.


2 证人郭某 2018 年 9 月 27 日证言证明：2014 年 8 月，芮某的案子涉及到某公司，因为林某 1 是

某公司的法人和 CEO，所以林某 1 到专案组配合调查约 5 个月时间，期间公司的董事长和 CEO 变

成了史某。在林某 1 回来后，他在公司没有任何职务，怕后期有别的事情，林某 1 将他的所有股权

转给了我。在失踪前林某 1 正在和史某交涉某公司的相关事务，林某 1 想要查公司的账，要确权。

当时林某 1 使用的手机号是 139 开头的，他失踪后这个号码就联系不上了。林某 1 失踪后，当时我

在外地，是林某 1 的姐姐林某 2 报的警，我从外地回来后到了派出所，派出所让我们回去等消息。
2 Witness Guo's testimony on September 27,2018 proved that: In August 2014, Rui's case involved a
company. As Lin is the legal representative and CEO of this company, Lin was asked to cooperate with the
investigation run by the task force for about 5 months, during which Shi became the company's chairman and
CEO. After Lin came back, he had no position in the company, worrying other things could follow, Lin
transferred all his shares to me. Before Lin1 went missing, he was negotiating with Shi over related company
matters. Lin wanted to check the company's accounts, to confirm responsibilities. At that time the phone
number of the mobile that Lin1 was using starts with 139. The number became unreachable after Lin
disappeared. I was out of town when Lin disappeared. It was Lin’s elder sister Lin filed the missing to the
police, when I came back from out of town, I went to the police office, the police office asked us to go home
and wait for updates.


...后来我让林某 2 办了⼀张银⾏卡，存了 5 万元，按林某 1 的要求让不认识的⼈将卡寄到指定地址，

我记得是哈尔滨道外分局的⼀个警察，收件⼈叫李某 1，有收件⼈的⼿机号。在给林某 1⼏万钱后的

两三天我就报警了，在奥运村派出所报林某 1 被绑架，后来刑警来了，了解了相关情况，和哈尔滨公

安局联系问有没有叫李某 1 的警察，后来怎么联系的我不清楚，后来我只是听了⼀句“把⼈送回来”。
Later, I asked Lin2 to get a bank card and deposited 50,000 yuan. As Lin 1 required, I asked a stranger to
post the card to a designated address. I remember that was posted to a police of Harbin Daowai Branch, the
addressee is Li 1 and a mobile number of the addressee. Two or three days after I gave Lin1 the money, I
called the police, filed with the Olympic village police office Lin’s kidnap case, then the criminal police
came to understand the relevant situation, contacted Harbin Public Security Bureau for any police named Li, I
do not know the followups, then I only heard a sentence "bring him over".


8、证人史某证言证明：我和林某 1 原来是高中同学，后来大学毕业后一起创业，2005 年博士毕业

后 一起成立了某公司，2011 年 5⽉份在美国上市，公司⼀直由林某 1 负责。2014 年 8 月底，林

                                                      5
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某 1 被公 安机关带⾛协助调查，他被带⾛后公司由我来管理，2015 年 1⽉林某 1 回来后其因为家

庭原因，林某 1 将⾃⼰所有的公司股份、权益都转给了妻⼦郭某，林某 1 退出某公司，后由我全权

负责某公司的运 营，郭某出任公司的董事和⾼管，但郭某很少管事⼉，林某 1 全部退出某公司。2018

年春节后，林 某 1 在⽹上多次攻击我和某，造谣诽谤我，发布虚假的上市公司董事会决议、公告，

还带着⼏⼗人到 某公司想要强⾏接管公司，指⽰他的保安到我的另外⼀个公司北京某有限公司盗取

公章，并⽤盗取的 公章伪造⽂书。我认为我和林某 1 没有任何纠纷，我很难理解林某 1 为什么不

停折腾我和公司。他的 恶意指责和所说的⼀切，我认为都不对，相关问题都有官⽅的公告和声明。
8 Witness Shi's testimony: Lin1 and I were high school classmates. We started up together after
university graduation. Upon our PHD graduation,we established the company together which went public in
May 2011 and Lin1 had been in charge all time. In August end 2014, Lin was taken away by PSB to assist
investigation, I then manage the company since his absence. By January 2015, Lin1 returned and transferred
all his company shares, equities to his wife Guo due to family reason, Lin1 resigned from the
company. Since then, I am solely responsible for the operation of the company while Guo serves as the
director and officer of the company but Guo is seldom in charge, Lin1 totally withdrew from the company.
After the 2018 Spring Festival, Lin attacked and slandered me on internet, released false resolutions and
announcements of the board of directors of the listed company, brought dozens guys to the company and
wanted to forcibly take over the company. He asked his security guys to my another company in Beijing and
stole my company seal then forged documents with that stolen seal. I don't think I have any disputes with Lin,
I could hardly understand why Lin1 keeps messing me and the company. His malicious accusations and all
his statements, I don’t think that are correct. All related matters are given in official announcements and
statements.


15、被告⼈亢天辉 2018 年 9⽉27⽇供述证明：... 王某 1 一共给了我 265 万，分两次给的，第一次也

就是见面当天，王某 1 给了我 30 万，之后我了我 235 万，都是现金，说实话我也没有怎么数。...王

某 1 又给我打了一个电话，问我和林某 1 在一起的一些细节，还问林某 1 为什么报案了，问我跟朝阳

分局警官都说了什么，我就实话实说告诉了王某 1。王某 1 还问我去派出所了没有，我说去过了，王

某 1 然后就说了我家住哪里，爹妈叫什么名字，孩子住哪里，他说他那边都知道，说我在明处他在暗

处让我小心一点，别到时候哭都来不及，王某 1 这样威胶胁我，我就把利和干某 1 联系的申话号码换

了。这样我和王某 1 就再也没有联系过。
15 Defendant KTH confession dated September 27 2018: ... Wang gave me twice in total amount of
2.65million yuan, the first pay was at the meeting, Wang gave me 30,000, then 2.35million, all in cash,
frankly I did not really count....Wang called me again, asked me some details when I was with Lin1, also
asked why Lin1 filed the case to the police, asked me what I told the police from Chaoyang branch, I
then told Wang1 frankly. Wang1 also asked if I went to the police office, I said I did, Wang then talked
about                                                  6
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where my family lives, my parents names, where my kids live, said he knows it all, that he is in dark and I
am in light, warned me not to find it too late to cry, Wang1 threatened me like this, I then replaced all my
mobile numbers contacted Wang1. So I never contact Wang1 after that.


16、被告人商凤起 2018 年 9 月 27⽇供述证明：

...有时陪着他去外⾯逛逛。过了⼀段时间亢天辉回到伊春来找我们，有⼀次我听见亢天辉和林某 1 聊

天时说这样看着林某 1 是受人之托,⽬的就是不让林某 1 回到公司。托亢天辉办这件事的人是林 1 公

司的人，林某 1 认识这个人。后来两人聊天时亢天 辉还提到史某的名字，当时林某 1 很吃惊，表⽰

不相信这件事。我们在伊春待了两个多⽉，这期间亢天辉让林某 1 使⽤我的⼿机给他的妻⼦和姐姐打

过好⼏次电话，林某 1 告诉他妻⼦在⿊龙江伊春，让他妻⼦来伊春找他。他妻⼦说公司现在有很多⽋

账，让林某 1 回北京处理，林某 1 不相信他妻⼦的话，又给他姐姐打电话核实公司的情况。他姐姐也

说确实公司⽋了很多钱，让他回北京处理。但是林某 1 没有回北京，他和亢天辉商量去厦门。
16, Defendant SFQ confessed and proved on September 27, 2018:
...Lin1 sometime accompanied him outing a bit. After a while, KTH was back in Yichun for us, I once heard
KTH told Lin in chat that he was entrusted to watch Lin as such,the purpose is block Lin going back to the
company. It is someone from Lin’s company, and Lin knows him. Later KTH mentioned the name of Shi,
Lin was astonished on hearing that, Lin indicated he cannot believe it. We stayed in Yichun for over
2months. During which Lin called several times his wife and his sister, Lin told his wife he is in Yinchun
Heilongjiang, asked his wife to come to Yichun for him. His wife said the company owes a lot, and asked
Lin back to Beijing to deal with the matters. Lin did not believe what she said. Lin called again his sister to
check about the company. His sister replied the company indeed owes a lot and asked him to go back to
Beijing to solve it. But Lin did not go back to Beijing, he discussed with KTH to go Xiamen.


....在伊春市期间，林某 1 状态正常，他也没有提出过什么要求。亢天辉和林某 1 除了唠⼀些家常，

有⼀次我听到亢天辉问林某 1 认不认识⼀个叫史某的人，林某 1 说认识，亢天辉就说这事⼉是史某让

⼀个叫南哥的人办的，是南哥把林某 1 交到我们⼿上，为的就是不让林某 1 在他⾃⼰的公司露⾯，说

是公司⾥有⼀个什么交易，现在不能让林某 1 出现，等交易完成之后林某 1 再出现就没事⼉了。我只

听到这些，具体他们之间说的林某 1 什么公司我也不知道，说的什么交易我也不明⽩，当时林某 1

还表⽰不相信亢天辉说的这些，其他的我就不知道了。在天津以及在伊春的初期，我和林某 1 之间基

本不怎么说话，后来在伊春我和林某 1⼀起出门吃饭买东西的时候，才开始慢慢聊聊天，但说的都不

深⼊，他只是跟我提起过他开了⼀家叫某科技的公司，转给他姐姐了，还提起过他媳妇,说是在什么

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地⽅上班，其他我都想不起来了，也都没说啥。
......During his stay in Yichun, Lin acted normal. He did not raise any requirements. Besides some fill-in
chats between KTH and Lin, once I heard KTH asked if Lin1 knows Shi, Lin1 said yes, KTH then told Lin1 it
was Shi directed Nan to do this on Lin1. It was Nan who hand over Lin1 to us, in order to block Lin1 to show
up in the company, as there is a somewhat deal ongoing, thus Lin1 is not allowed to show up until the deal
closed. I only heard this much. I don’t know the specific company of Lin1 they mentioned. I don’t understand
the deal they mentioned. At that time Lin1 did not believe what KTH told him. I don’t know the rest. While in
Tianjin and in early days in Yichun, I didn't talk with Lin much. Later I went eating out and shopping with
Lin in Yichun, we then chatted warmups but not deeply. He only mentioned he runs a tech company which
transfered to his sister, also mentioned his wife who works somewhere which I cannot recall. Nothing much
we chatted.


...为什么中途换卡我也不清楚。林某 1 只是给他姐姐和他媳妇打过电话，打了很多次，没有给其他人

打过。我听到的就是林某 1 问问家⾥的情况、公司的情况，有⼀次林某 1 跟他媳妇还提到了史某，具

体他媳妇怎么说的我就不知道了。我听林某 1 跟家人说过在⿊龙江，应该是没有说过具体位置，还跟

家人说自己目前状态挺好，别的就没有了。
... I am not sure why Lin changed SIM cards. Lin1 only called his sister and his wife, called many times, but
not others. What I heard is Lin asking about his family, the company. Once Lin mentioned Shi to his wife, but
I don’t know what his wife said. I heard Lin1 told his family he is in Heilongjiang but probably not exact
location, also told his family that he himself is in good condition. Nothing else.


... 8⽉12⽇，亢天辉同林某 1 说的那个公安局长联系了，但是对⽅当天不在，我们没有见到那个局长，

后局长让我们去当地⼀个刑警队自首，具体局长跟亢天辉怎么说的我不清楚，后我就跟着亢天辉去了

刑警队，做完笔录之后就把我们拘留了，后来北京的警察就过去把我们接回了北京。去⾃⾸前，亢天

辉说警察问话的时候，让我跟警察说我只是陪着林某 1 来的，其他的什么都说不知道，还说之前跟林

某 1 在⼀起期间听到的、看到的包括提到的史某、南哥等那些事⼉都不要跟警察说，后来我到公安局

后就⼀直什么都没说，但是经过警察这么长时间的教育，我现在明⽩了，我愿意把事情都跟警察说清

楚。
...On Aug 12, KTH contacted the public security director that Lin1 mentioned, but the director was not there
that day, we did not see the director. Later the director advised us to surrender ourselves to the local criminal
police team . I didn't know what the director told KTH in details. After that, I followed KTH to the local
criminal police. The police took our written confession then detained us. Later the Beijing police took us
back to Beijing. Before we surrendered, KTH asked me to tell the police that I just accompanied Lin1 and
answer “I don’t know” to rest questions. He also asked me not to mention anything heard, seen while with
Lin1, including those related to Shi, Nan, etc. That’s why I did not say anything with PSB at first, but after

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such a long period of police education, I now understand, and I would like to clarify with the police.


...在跟林某 1 在⼀起的整个过程中，亢天辉这次回来待了⼤约⼀周左右，期间林某 1 给家⾥打了两

三次电话。亢天辉离开了⼗⼏天后又回来了，他和林某 1 聊天时提到了史某和南哥，好像是这两个

人不让林某 1 露⾯，我就是断断续续听到⼏句，有时我和林某 1 聊天，但是他不说⾃⼰什么事⼉，

只是说以后想做什么等等。
...During my whole stay with Li1n, KTH came back and stayed for a bout a week, during which Lin1 called
his family two or three times. KTH went off for over 10days and came back. He mentioned Shi and Nan in
his chat with Lin, it sounds like these two would not let Lin show up. I only overheard very few. Sometimes I
chatted with Lin. But he didn't say anything about himself, except what he would like to do in future.


上述证据经举证、质证，被告⼈亢天辉、商凤起对在天津和伊春⾮法拘禁林某 1 的事实供认不讳，和

林某 1 的陈述相互印证。
The above evidence have been proved and cross-examined, Defendant KTH and SFQ confessed the facts of
false imprisonment of Lin1 in Tianjin and Yichun, which is in mutual corroboration with Lin's statement.


...对二被告⼈关于在厦门期间没有拘禁林某 1 的辩解，本院不予采信，其他证据经举证、质证，本院

对相互印证的部分予以采信。
... This court does not credit the defense of the two defendants denying false imprisonment of Lin in Xiamen,
as for other evidence that have been proved and cross-examined, this court accepts the mutually corroborated
part.


本院认为，被告⼈亢天辉、商凤起法制观念淡薄，非法拘禁他人，被告⼈的行为侵犯了他人人身权利，

触犯了刑法，已构成非法拘禁罪，依法应予惩处。北京市朝阳区人民检察院指控被告亢天辉、商凤起

犯非法拘禁罪的事实清楚，证据确实、充分，指控罪名成立。
This court finds that Defendant KTH, SFQ have weak legal sense, illegally imprisoned others, Defendants’
acts infringed others’ personal rights, violated the criminal law, that constitutes false imprison offence, should
be punished according to law. The facts on which the Beijing Chaoyang District People’s accused against the
defendants KTH and SFQ for false imprison offence are clear, the evidence is true and sufficient, the offence
accused is found established.


综上，根据被告人亢天辉、商凤起犯罪的事实、犯罪的性质、情节以及对于社会的危害程度，本院依

照《中华人民共和国刑法》第⼆百三⼗⼋条第⼀款、第⼆⼗五条第⼀款、第六⼗⼀条、第四⼗五条、



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第四⼗七条、第六⼗四条之规定，判决如下：
Accordingly, based on Defendant KTH, SFQ crime facts, crime nature, crime circumstances and extent
injury to society, in accordance with Criminal Law of the People's Republic of China Article
238(1),25(1),61,45,47,and 64, this court decided sentences as below :


⼀、被告人亢天辉犯⾮法拘禁罪，判处有期徒刑⼆年六个⽉（刑期从判决执⾏之⽇起计算。判决执⾏

以前先⾏羁押的，羁押⼀⽇折抵刑期⼀⽇。即⾃2018 年 8⽉12⽇起⾄2021 年 2⽉11⽇⽌）。
1, The Defendant KTH is guilty for false imprisonment offence,and sentenced set term imprisonment of 2ys
and 6months (term of imprisonment starts from judgment execution date.Each detain day prior to
judgment execution shall deduct one day of the set term,i.e. Aug 12,2018 to Feb 11, 2021 )


⼆、被告人商凤起犯⾮法拘禁罪，判处有期徒刑⼆年三个⽉（刑期从判决执⾏之⽇起计算。判决执⾏

以前先⾏羁押的，羁押⼀⽇折抵刑期⼀⽇。即⾃2018 年 8⽉12⽇起⾄2020 年 11⽉11⽇⽌）。
2, The Defendant SFQ is guilty for false imprisonment offence,and sentenced set term imprisonment of 2
years and 3 months (term of imprisonment starts from judgment execution date.Each detain day prior to
judgment execution shall deduct one day of the set term,i.e. Aug 12,2018 to Nov 11, 2020)


三、继续追缴亢天辉非法所得人民币⼀百五⼗五万、商凤起⾮法所得人民币⼆万⼋千元，予以没收。
3, Continued recovery from KTH ill-gotten gains as of RMB1.5million Yuan, SFQ ill-gotten gains as of
RMB28000 Yuan, and both confiscated.


四、在案之房产⼀套、苹果牌⼿机⼆部，变价后折抵被告人亢天辉的⾮法所得款；在案之 OPPO 牌

⼿

机⼀部，予以没收。
4, Case involved real estate 1, Apple mobile 2, appraised and cashed for KTH ill gotten gains recovery; Case
involved Apple mobile 1, confiscated.


如不服本判决，可在接到判决书的第⼆⽇起⼗⽇内，通过本院或者直接向北京市第三中级人民法院提

出上诉。书面上诉的，应当提交上诉状正本一份，副本二份。
If you do not accept the judgment, within 10 days from the next day on receipt of this judgment,you can
appeal to Beijing 3rd Intermediate People's Court through this court or directly. If a written appeal is made,
one original and two copies of the appeal shall be submitted.


审 判 长 徐清岱
Presiding judge Xu Qingdai

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人民陪审员 王 萍
People's juror   Wang Ping
人民陪审员 刘帅锋
People's juror   Liu Shufeng
⼆〇⼆〇年九⽉⼆⼗三⽇
September 23, 2020
书 记 员           王 鑫
Court clerk      Wang Xin




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